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 1 D. EDWARD HAYS, #162507
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 3 MARSHACK HAYS LLP
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 4 Irvine, California 92620
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 5 Facsimile: (949) 333-7778

 6 Attorneys for Chapter 7 Trustee,
   RICHARD A. MARSHACK
 7

 8                              UNITED STATES BANKRUPTCY COURT
 9                 CENTRAL DISTRICT OF CALIFORNIA – SANTA ANA DIVISION
10

11    In re                                                 Case No. 8:18-bk-13311-SC
12    RUBY’S DINER, INC., a California corporation,         Chapter 7
      et al.,
13                                                          (Jointly Administered with Case Nos.:
                    Debtor.                                 8:18-bk-13197-SC; 8:18-bk-13198-SC;
14                                                          8:18-bk-13199-SC; 8:18-bk-13200-SC;
      Affects:                                              8:18-bk-13201-SC; 8:18-bk-13202-SC)
15
      ☐       ALL DEBTORS                                   NOTICE OF MOTION AND MOTION
16                                                          TO (1) SET A BAR DATE FOR FILING
      ☒       RUBY’S DINER, INC., ONLY                      ADMINISTRATIVE EXPENSE
17                                                          CLAIMS, INCLUDING CLAIMS
      ☐       RUBY’S SOCAL, DINERS, LLC, ONLY               UNDER 11 U.S.C. § 503(b); AND (2)
18                                                          APPROVE THE FORM, MANNER,
      ☐       RUBY’S QUALITY DINERS, LLC, ONLY              AND SUFFICIENCY OF THE NOTICE
19                                                          THEREOF
      ☐       RUBY’S HUNTINGTON BEACH, LTD.
20            ONLY                                          [NO HEARING REQUIRED]
21    ☐       RUBY’S LAGUNA HILLS, LTD. ONLY
22    ☐       RUBY’S OCEANSIDE, LTD, ONLY
23    ☐       RUBY’S PALM SPRINGS, LTD. ONLY
24 / / /

25 / / /

26 / / /

27

28

         NOTICE OF MOTION TO (1) SET A BAR DATE FOR FILING CHAPTER 11 ADMINISTRATIVE EXPENSE CLAIMS
     4855-2057-0919v.1-1015-134
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 1 TO THE HONORABLE SCOTT C. CLARKSON, UNITED STATES BANKRUPTCY COURT

 2 JUDGE, THE OFFICE OF THE UNITED STATES TRUSTEE, AND ALL INTERESTED

 3 PARTIES:

 4             PLEASE TAKE NOTICE that Richard A. Marshack, in his capacity as Chapter 7 Trustee
 5 (“Trustee”) of the Bankruptcy Estate (“Estate”) of Ruby’s Diner, Inc., a California corporation, et al.

 6 jointly administered on September 5, 2018, as lead case no. 8:18-bk-1331-SC (“RDI”), with the

 7 following associated bankruptcy cases: (a) 8:18-bk-13197-SC – Ruby’s SoCal Diners, LLC, a

 8 Delaware limited liability company (“SoCal”); (b) 8:18-bk-13198-SC - Ruby Quality Diners, LLC.,

 9 a Delaware limited liability company (“Quality”); (c) 8:18-bk-13199-SC – Ruby’s Huntington

10 Beach, Ltd., a California limited partnership (“RHB”); (d) 8:18-bk-13200-SC – Ruby’s Laguna

11 Hills, Ltd., a California limited partnership (“RLH”); (e) 8:18-bk-13201-SC – Ruby’s Oceanside

12 Ltd., a California limited partnership (“RO”); and (f) 8:18-bk-13202-SC – Ruby’s Palm Springs,

13 Ltd., a California limited partnership (“RPS”) (collectively, RDI, SoCal, Quality, RHB, RO, RLH,

14 and RPS are referred to as “Debtors”) has filed a motion to (1) Set A Bar Date For Filing

15 Administrative Expense Claims, Including Claims Under 11 U.S.C. § 503(b), And (2) Approve the

16 Form, Manner, and Sufficiency of the Notice Thereof (“Motion”)1. Through the Motion, the Trustee

17 seeks an Order that finds and directs as follows:

18             1.     Sets September 30, 2022, as the last day (“Bar Date”) by which creditors must file
19 and set for hearing requests for (i) allowance of administrative claims pursuant to 11 U.S.C.

20 §§ 503(b) and 507(a)(2) incurred during the period (“Postpetition Period”) commencing after the

21 filing of the Debtor’s petition on September 6, 2018 (“Petition Date”) and before entry of the Order

22 on April 15, 2020 (“Conversion Date”) converting the Case to Chapter 7 (“Postpetition Claims”),

23 and (ii) allowance of claims that first accrued or were incurred during the period from and including

24 twenty (20) days before September 6, 2018 (i.e., on or after August 17, 2018) and are entitled to

25 administrative expense priority under 11 U.S.C. § 503(b)(9) (“20-Day Claims” and, collectively with

26 the Postpetition Claims, “Chapter 11 Admin Claims”);

27

28
     1
         This Motion is specific to Ruby’s Diner’s Inc. only.
                                                         1
         NOTICE OF MOTION TO (1) SET A BAR DATE FOR FILING CHAPTER 11 ADMINISTRATIVE EXPENSE CLAIMS
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 1          2.     Sets September 30, 2022, (“Bar Date”) as the last day by which creditors must file
 2 and set for hearing requests for allowance of administrative claims commencing after the Order on

 3 April 15, 2020 (“Conversion Date”) converting the Case to Chapter 7 (“C7 Admin Claim”),

 4 excluding those retained professionals who are currently providing services to the Chapter 7 Trustee;

 5          3.     Approves the form and sufficiency of the Notice of the Bar Date (“Bar Date Notice”)
 6 substantially in the form attached to the Motion as Exhibit 1;

 7          4.     Approves and authorizes service of the Notice attached as Exhibit 1 either via the
 8 Court’s Notice of Electronic Filing system or by first-class United States mail, postage prepaid as

 9 soon as practicable after entry of an Order approving this Motion and, in any event, no later than 30

10 days prior to the Bar Date, on (a) all scheduled creditors of the Debtor, (b) all parties requesting

11 special notice, if any, (c) all parties with whom Trustee has done business on behalf of the Estate as

12 of the filing date of this Motion, (d) all persons or entities that have filed claims against the Debtor,

13 (e) all scheduled parties to executory contracts and unexpired leases of the Debtor, if any, (f) counsel

14 for all known parties to litigation by or against the Debtor, if any, (g) the Internal Revenue Service,

15 (h) the California Franchise Tax Board, (i) the Los Angeles County Tax Collector, (j) the Debtor’s

16 professionals employed by Court order in this Case, and (k) the U.S. Trustee (collectively, “Notice

17 Parties”);

18          5.     Excludes from the Bar Date: (a) any Chapter 7 Admin Claim of the Trustee or any
19 professional employed by Trustee, (b) any Chapter 11 Admin Claim (such as an ordinary course of

20 business payment) that has been previously paid by Debtor or Trustee or that has otherwise been

21 satisfied; (c) any Chapter 11 Admin Claim that has already been allowed by a prior order of the

22 Court and on a final basis; and (d) any fees payable to the U.S. Trustee under 28 U.S.C. § 1930 or

23 accrued interest arising under 31 U.S.C. § 3717.

24          6.     Requires that all motions seeking administrative claim allowance: (a) be set for
25 hearing on or before the Bar Date; (b) will be deemed filed only when actually calendared by the

26 Court for hearing; and (c) which motion shall be signed by the claimant or, if the claimant is not an

27 individual, by an authorized agent of the claimant, written in English, denominated in United States

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                                                        2
         NOTICE OF MOTION TO (1) SET A BAR DATE FOR FILING CHAPTER 11 ADMINISTRATIVE EXPENSE CLAIMS
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 1 currency, have attached any documents on which the claim is based (or, if such documents are

 2 voluminous, attach a summary) or an explanation as to why the documents are not available. All

 3 motions for administrative claim allowance shall be filed on the main case docket (i.e. RDI).

 4          7.     Prohibits the filing or allowance of late administrative claims, excluding retained
 5 professionals who are currently providing services to the Chapter 7 Trustee, without leave of Court;

 6          8.     Determines that adequate notice of the Motion was given; and
 7          9.     Grants such other and further relief as the Court deems just and proper.
 8          The Motion is made on the grounds that Trustee believes that the setting of a bar date to file
 9 administrative claims will help facilitate the administration of the case. Specifically, Trustee has

10 recently entered a proposed settlement of the Estate’s D&O claims that will result in recoveries

11 totaling at least $3,550,000. This amount plus Trustee’s other recoveries is sufficient to pay all

12 anticipated Chapter 7 administrative claims and to make substantial distributions on account of

13 allowed Chapter 11 administrative claims. To further efforts to make interim distributions, Trustee

14 needs to determine all administrative claims that may exist.

15          PLEASE TAKE FURTHER NOTICE that Trustee submits the Motion pursuant to 11 U.S.C.
16 §§ 105, 502(a), and 503(b) and Federal Rules of Bankruptcy Procedure (“FRBP”) 3003(c)(3),

17 2002(a)(7), and 9007. The Motion is based on this Notice of Motion and Motion, the attached

18 Memorandum of Points and Authorities and Exhibits, all documents on file with the Court, as well

19 as any documentary evidence that may be presented in support of the Motion, and all matters of

20 which the Court may take judicial notice.

21          PLEASE TAKE FURTHER NOTICE that any response and request for hearing as to the
22 proposed employment must be in the form as required by Local Bankruptcy Rules (“LBR”) 2014-

23 1(b), 9013-1(f) and (o) and filed with the Clerk of the above-entitled Court no later than fourteen

24 days (14) from the date of service of this Notice, plus an additional three days unless this Notice

25 was served by personal delivery or posting as described in F.R.Civ.P. 5(b)(2)(A)-(B). A copy of any

26 response must be served on D. Edward Hays and Laila Masud at the address indicated above and

27 must also be served on the Office of the United States Trustee, addresses are as follows:

28
                                                       3
         NOTICE OF MOTION TO (1) SET A BAR DATE FOR FILING CHAPTER 11 ADMINISTRATIVE EXPENSE CLAIMS
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 1

 2    For Service on the Trustee                         For Service on the Hon. Scott C. Clarkson
      D. Edward Hays, Esq.                               Hon. Scott C. Clarkson
 3    Laila Masud, Esq.                                  Ronald Reagan Federal Building
 4    MARSHACK HAYS LLP                                  411 W. Fourth Street, bin on 5th Fl.
      870 Roosevelt                                      Santa Ana, CA 92701
 5    Irvine, CA 92620

 6    For Filing with the Court                          For Service on the Office of the
      Clerk’s Office                                     United States Trustee
 7    United States Bankruptcy Court                     Office of the United States Trustee
      411 W. Fourth Street                               411 W. Fourth Street, Ste 7160
 8    Santa Ana, CA 92701                                Santa Ana, CA 92701
 9          PLEASE TAKE FURTHER NOTICE that failure to timely respond may be deemed as
10 acceptance of the proposed Motion. See, LBR 9013-1(h):

11 DATED: July 11, 2022                           MARSHACK HAYS LLP
12

13                                                By: /s/ D. Edward Hays
14                                                    D. EDWARD HAYS
                                                      LAILA MASUD
15                                                    Attorneys for Chapter 7 Trustee,
                                                      RICHARD A. MARSHACK
16

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                                                     4
         NOTICE OF MOTION TO (1) SET A BAR DATE FOR FILING CHAPTER 11 ADMINISTRATIVE EXPENSE CLAIMS
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                                           PROOF OF SERVICE OF DOCUMENT
  I am over the age of 18 and not a party to this bankruptcy case or adversary proceeding. My business address is:
  870 Roosevelt, Irvine, CA 92620

  A true and correct copy of the foregoing document entitled (specify): NOTICE OF MOTION BY CHAPTER 7 TRUSTEE
  FOR ORDER SETTING ADMINISTRATIVE CLAIMS BAR DATE will be served or was served (a) on the judge in
  chambers in the form and manner required by LBR 5005-2(d); and (b) in the manner stated below:

  1. TO BE SERVED BY THE COURT VIA NOTICE OF ELECTRONIC FILING (NEF): Pursuant to controlling General
  Orders and LBR, the foregoing document will be served by the court via NEF and hyperlink to the document. On July 11,
  2022, I checked the CM/ECF docket for this bankruptcy case or adversary proceeding and determined that the following
  persons are on the Electronic Mail Notice List to receive NEF transmission at the email addresses stated below:


                                                                                              Service information continued on attached page

  2. SERVED BY UNITED STATES MAIL:
  On July 11, 2022, I served the following persons and/or entities at the last known addresses in this bankruptcy case or
  adversary proceeding by placing a true and correct copy thereof in a sealed envelope in the United States mail, first class,
  postage prepaid, and addressed as follows. Listing the judge here constitutes a declaration that mailing to the judge will
  be completed no later than 24 hours after the document is filed.

MAIL REDIRECTED TO TRUSTEE                     MAIL REDIRECTED TO TRUSTEE                               MAIL REDIRECTED TO TRUSTEE
DEBTOR                                         DEBTOR                                                   DEBTOR
RUBY'S DINER, INC., A                          RUBY'S HUNTINGTON BEACH, LTD., A                         RUBY'S OCEANSIDE LTD, A
CALIFORNIA CORPOR                              CALIF                                                    CALIFORNIA
4100 MACARTHUR BLVD.                           4100 MACARTHUR BLVD STE 310                              4100 MACARTHUR BLVD. STE 310
SUITE 310                                      NEWPORT BEACH, CA 92660-2050                             NEWPORT BEACH, CA 92660-2050
NEWPORT BEACH, CA 92660-2050


                                                                                              Service information continued on attached page

  3. SERVED BY PERSONAL DELIVERY, OVERNIGHT MAIL, FACSIMILE TRANSMISSION OR EMAIL (state method
  for each person or entity served): Pursuant to F.R.Civ.P. 5 and/or controlling LBR, on July 11, 2022, I served the
  following persons and/or entities by personal delivery, overnight mail service, or (for those who consented in writing to
  such service method), by facsimile transmission and/or email as follows. Listing the judge here constitutes a declaration
  that personal delivery on, or overnight mail to, the judge will be completed no later than 24 hours after the document is
  filed.

  Honorable Scott C. Clarkson – via personal delivery
  United States Bankruptcy Court - Central District of California
  411 West Fourth Street, Suite 5-097
  Santa Ana, CA 92701-4593
                                                                                              Service information continued on attached page

  I declare under penalty of perjury under the laws of the United States that the foregoing is true and correct.

    July 11, 2022              Cynthia Bastida                                                     /s/ Cynthia Bastida
    Date                          Printed Name                                                     Signature




              This form is mandatory. It has been approved for use by the United States Bankruptcy Court for the Central District of California.


                                                                                                      F 9013-3.1.PROOF.SERVICE
  June 2012
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1. TO BE SERVED BY THE COURT VIA NOTICE OF ELECTRONIC FILING (NEF):

        Leo A Bautista leo.bautista@lewisbrisbois.com, Sondra.Sweeney@lewisbrisbois.com
        Christopher Dale Beatty cbeatty@millerbarondess.com,
         aransom@millerbarondess.com,docket@millerbarondess.com,jvogel@millerbarondess.com
        Stephen C Biggs sbiggs@smith-lc.com, kdavenport@smith-lc.com
        George B Blackmar gblackmar@bpslaw.net
        Dustin P Branch branchd@ballardspahr.com, carolod@ballardspahr.com;hubenb@ballardspahr.com
        Jeffrey W Broker jbroker@brokerlaw.biz
        Christopher Celentino chris.celentino@dinsmore.com, caron.burke@dinsmore.com
        Carol Chow carol.chow@ffslaw.com, easter.santamaria@ffslaw.com
        John S Clifford JCLIFFORD@SMITH-LC.COM
        David P Crochetiere dcrochetiere@bautelaw.com, hwells@bautelaw.com
        David P Crochetiere , hwells@bautelaw.com
        Ashleigh A Danker adanker731@gmail.com
        Aaron Davis aaron.davis@bryancave.com, kat.flaherty@bryancave.com
        Caroline Djang cdjang@buchalter.com, docket@buchalter.com;lverstegen@buchalter.com
        Laura E Dolan laura.blome@sdcounty.ca.gov,
         odette.ortega@sdcounty.ca.gov;kristen.howard@sdcounty.ca.gov
        Alan J Friedman afriedman@shulmanbastian.com, lgauthier@shulmanbastian.com
        Eric J Fromme efromme@tocounsel.com, stena@tocounsel.com
        Maria L Garcia Maria.L.Garcia@lewisbrisbois.com, Nancy.jasso@lewisbrisbois.com
        Alastair M Gesmundo agesmundo@wghlawyers.com, jmartinez@wghlawyers.com
        Richard H Golubow rgolubow@wghlawyers.com, jmartinez@wghlawyers.com;svillegas@wghlawyers.com
        Steven T Gubner sgubner@bg.law, ecf@bg.law
        David M. Guess dguess@buchalter.com, david-guess-9268@ecf.pacerpro.com
        Michael J Hauser michael.hauser@usdoj.gov
        D Edward Hays ehays@marshackhays.com,
         ehays@ecf.courtdrive.com;kfrederick@ecf.courtdrive.com;cmendoza@marshackhays.com;cmendoza@ecf.court
         drive.com
        Samy Henein samyhenein@aol.com, az@suppalaw.com
        Garrick A Hollander ghollander@wghlawyers.com, jmartinez@wghlawyers.com;svillegas@wghlawyers.com
        Lillian Jordan ENOTICES@DONLINRECANO.COM, RMAPA@DONLINRECANO.COM
        Rika Kido rkido@shulmanbastian.com, avernon@shulmanbastian.com
        David S Kupetz David.Kupetz@lockelord.com, mylene.ruiz@lockelord.com
        William N Lobel wlobel@tocounsel.com, stena@tocounsel.com;sschuster@tocounsel.com
        Tinho Mang tmang@marshackhays.com,
         tmang@ecf.courtdrive.com;kfrederick@ecf.courtdrive.com;cmendoza@ecf.courtdrive.com
        Craig G Margulies Craig@MarguliesFaithlaw.com,
         Vicky@MarguliesFaithlaw.com;Helen@MarguliesFaithlaw.com;Angela@MarguliesFaithlaw.com
        Richard A Marshack (TR) pkraus@marshackhays.com,
         rmarshack@iq7technology.com;ecf.alert+Marshack@titlexi.com
        Robert S Marticello Rmarticello@swelawfirm.com,
         gcruz@swelawfirm.com;lgarrett@swelawfirm.com;jchung@swelawfirm.com
        Laila Masud lmasud@marshackhays.com, lmasud@ecf.courtdrive.com;kfrederick@ecf.courtdrive.com
        Jessica G McKinlay mckinlay.jessica@dorsey.com
        Malcolm D Minnick dminnick@pillsburylaw.com, m.minnick@comcast.net
        Aviram Edward Muhtar aviram.muhtar@lewisbrisbois.com, Nancy.Jasso@lewisbrisbois.com
        Jeffrey P Nolan jnolan@pszjlaw.com
        Ernie Zachary Park ernie.park@bewleylaw.com
        Thomas J Polis tom@polis-law.com, paralegal@polis-law.com;r59042@notify.bestcase.com
        Todd C. Ringstad becky@ringstadlaw.com, arlene@ringstadlaw.com
        SAMUEL A. SCHWARTZ saschwartz@nvfirm.com, ECF@nvfirm.com
        Steven C Smith ssmith@smith-lc.com, kcanaan@smith-lc.com
        Valerie Smith claims@recoverycorp.com
        Lawrence Treglia ltreglia@murtaughlaw.com, lhull@murtaughlaw.com
           This form is mandatory. It has been approved for use by the United States Bankruptcy Court for the Central District of California.


                                                                                                   F 9013-3.1.PROOF.SERVICE
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        United States Trustee (SA) ustpregion16.sa.ecf@usdoj.gov
        Matthew S Walker matthewswalker1@gmail.com, renee.evans@pillsburylaw.com,
        Corey R Weber cweber@bg.law, ecf@bg.law
        Sharon Z. Weiss sharon.weiss@bclplaw.com, raul.morales@bclplaw.com,REC_KM_ECF_SMO@bclplaw.com
        Christopher K.S. Wong christopher.wong@arentfox.com, yvonne.li@arentfox.com
        Claire K Wu claire.wu@pillsburylaw.com, irene.hooper@pillsburylaw.com;docket@pillsburylaw.com

2. SERVED BY UNITED STATES MAIL: continued:

                                                  RDI - SECURED                                            RDI - SECURED
                                                  CREDITOR/INVESTOR/POC ADDRESS                            CREDITOR/INVESTOR/POC
                                                  ALEXANDER B. AND IRENE M.                                ADDRESS
                                                  MCDONALD                                                 ALICE COURY AND THOMAS PIKE
                                                  MCDONALD LIVING TRUST                                    22682 LEDANA
                                                  24076 GOURAMI BAY                                        MISSION VIEJO CA 92691
                                                  DANA POINT CA 92629

 RDI - SECURED                                    RDI - SECURED CREDITOR/INVESTOR                          RDI - SECURED CREDITOR
 CREDITOR/INVESTOR                                ALLAN E. & SHIRLEY RICHARDSON                            ANNE K RELPH
 ALLAN AND SHIRLEY                                1673 MISSION MEADOWS DRIVE                               THE RELPH LIVING TRUST
 RICHARDSON                                       OCEANSIDE CA 92057                                       PO BOX 9018
 23815 VILLENA                                                                                             LAGUNA BEACH, CA 92652-7015
 MISSION VIEJO, CA 92692-1823

 RDI - SECURED CREDITOR                           RDI - SECURED CREDITOR/INVESTOR                          RDI - SECURED
 ANNE K. RELPH                                    ANNE L. CLARK                                            CREDITOR/INVESTOR
 THE RELPH LIVING TRUST                           2330 VIA MARIPOSA WEST, APT. Q                           ARTHUR AND BETH YOUNG
 PO BOX 790                                       LAGUNA WOODS CA 92637                                    4051 SHOREBREAK DR.
 WESTCLIFFE, CO 81252-0790                                                                                 HUNTINGTON BEACH CA 92649

 RDI - SECURED                                    SEE NEW ADDR                                             NEW ADDR PER TC 08/12/21
 CREDITOR/INVESTOR/POC                            RDI - SECURED CREDITOR/INVESTOR                          RDI - SECURED
 ADDRESS                                          CANDACE AND MICHAEL O'BRIEN                              CREDITOR/INVESTOR
 BETTE MCKINNEY                                   13600 MARINA POINTE DR., #1702                           CANDACE AND MICHAEL O'BRIEN
 3719 EAST FIFTH STREET                           MARINA DEL REY CA 90292                                  321 COMPASS ROSE DRIVE
 LONG BEACH CA 90814                                                                                       DAYTONA BEACH, FL 32124

 RDI - SECURED                                    RDI - SECURED                                            RDI - SECURED
 CREDITOR/INVESTOR/POC                            CREDITOR/INVESTOR/POC ADDRESS                            CREDITOR/INVESTOR/POC
 ADDRESS                                          CHERYL THOREEN                                           ADDRESS
 CATHY CAMPBELL                                   19 SHADE TREE                                            CHRISTI G. DYER, TRUSTEE
 180 FRANKLIN CORNER RD K15                       IRVINE CA 92603                                          DYER FAMILY TRUST
 LAWRENCEVILLE, NJ 08648                                                                                   24292 TOPONAS COURT
                                                                                                           LAGUNA NIGUEL CA 92677

 RDI - SECURED                                    RDI - SECURED                                            RDI - SECURED CREDITOR/POC
 CREDITOR/INVESTOR/POC                            CREDITOR/INVESTOR/POC ADDRESS                            ADDRESS
 ADDRESS                                          CONSTANCE D WILSON                                       COUNTY OF ORANGE
 CLIFFORD & KAREN STEMBER                         ACQUIRED FROM JOHN RAYMOND                               P.O. BOX 4515
 906 CARSON STREET                                WILSON JR.                                               SANTA ANA, CA 92702-4515
 UPLAND CA 91784                                  1290 BIRMINGHAM DR                                       ATTN: BANKRUPTCY UNIT
                                                  ENCINITAS CA 92024




           This form is mandatory. It has been approved for use by the United States Bankruptcy Court for the Central District of California.


                                                                                                   F 9013-3.1.PROOF.SERVICE
June 2012
4851-1218-9040, v. 1
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 CREDITOR/INVESTOR                                RDI - SECURED CREDITOR                                   CREDITOR/INVESTOR/POC
 CREDIT MANAGEMENT                                DAVID AND GRETCHEN                                       ADDRESS
 ASSOCIATION                                      1900 VINE STREET #302                                    DAVID AND GRETCHEN LANDAU
 ATTN: MIKE JONCICH                               LOS ANGELES, CA 90068-3979                               730 W DORAN ST
 40 EAST VERDUGO AVENUE                                                                                    GLENDALE CA 91203
 BURBANK, CA 91502-1931

 RDI - SECURED                                    RDI - SECURED                                            NEW ADDR PER 12/09/20 EMAIL
 CREDITOR/INVESTOR/POC                            CREDITOR/INVESTOR/POC ADDRESS                            RDI - SECURED
 ADDRESS                                          DAVID AND LOIS GOREN                                     CREDITOR/INVESTOR
 DAVID AND LOIS GOREN                             24 JUPITER HILLS DRIVE                                   DAVID J. AND MAUREEN L.
 C/O DONALD W. SIEVEKE                            NEWPORT BEACH, CA 92660-9206                             MELVOLD
 1113 N. SPURGEON STREET                                                                                   29911 OSPREY COURT
 SANTA ANA, CA 92701                                                                                       TAVARES, FL 32778

 SEE NEW ADDR 12/09/20                            RDI - SECURED CREDITOR/INVESTOR                          RDI - SECURED
 RDI - SECURED                                    DAVID MELVOLD                                            CREDITOR/INVESTOR/POC
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 MELVOLD                                                                                                   GRANITE BAY CA 95746
 24 SONRISA
 IRVINE CA 92620

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 ADDRESS                                          DAVID R. & ARLENE A. BELT                                DAVID WELLS
 DAVID R. & ARLENE A. BELT                        8975 LAWRENCE WELK DR APT 395                            8430 BRIDGEWATER COURT
 3455 ROYAL ROAD                                  ESCONDIDIO, CA 92026                                     GRANITE BAY CA 95746
 VISTA CA 92084

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 33651 FLYING JIB DRIVE                                                                                    24326 PARKPLACE DRIVE
 MONARCH BEACH CA 92629                                                                                    LAGUNA NIGUEL CA 92677

 RDI - SECURED                                    RDI - SECURED                                            RDI - SECURED
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 ED S. & ANNE L. FARBER                           FRANCES (MYRON) COOPER                                   GARY M. & JANET GREEN
 16311 FANTASIA LANE                              28399 BORGONA                                            925 FLAGSTONE DRIVE
 HUNTINGTON BEACH CA 92649                        MISSION VIEJO CA 92692                                   SANTA MARIA CA 93455-4181

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 ADDRESS                                          601 CARNATION AVENUE                                     HARVEY AND JOYCE JENSEN
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 21261 MANZANILLO                                                                                          DANA POINT CA 92629
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 HOPE G. LUEDEKE, TRUSTEE OF                      10651 OVERMAN AVENUE                                     256 MAYFLOWER DRIVE
 THE MARITA TRUST                                 CHATSWORTH CA 91311                                      NEWPORT BEACH CA 92660
 3 PURSUIT, UNIT 312
 ALISO VIEJO CA 92656

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 22921 PALENCIA LANE                              28 DRAKES BAY DRIVE                                      2936 ALTA VISTA
 LAGUNA NIGUEL, CA 92677-2742                     CORONA DEL MAR, CA 92625-1008                            NEWPORT BEACH CA 92660

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 LAGUNA NIGUEL, CA 92677                          835 W. SOUTH LINKS DRIVE                                 DANA POINT CA 92629
                                                  WASHINGTON UT 84780

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 JIM AND JANET SHIELDS                            (SON))                                                   ADDRESS
 29632 ALTA TERRA                                 7 RED OAK CIRCLE                                         JOEL B. ROTHMAN
 LAGUNA NIGUEL CA 92677                           POMONA CA 91766                                          27 CARMEL BAY DRIVE
                                                                                                           CORONA DEL MAR CA 92625

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 ADDRESS                                          JOHN HOLLIDAY                                            BLAHA FAMILY TRUST
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 MALMQUIST                                        IRVINE CA 92604                                          GLENDALE, CA 91208-1507
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 CARDIFF CA 92007                                 340 ELECTRIC AVENUE                                      NEWPORT BEACH CA 92660
                                                  SEAL BEACH CA 90740

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 26 SAGITTA WAY                                   LA CRESCENTA CA 91214                                    HUNTINGTON BEACH CA 92647
 COTO DE CAZA CA 92679




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 SECRIST                                                                                                   GRIFFITH
 872 N. KINTYRE DRIVE                                                                                      5310 CALLE DE RICARDO
 ORANGE CA 92869                                                                                           TORRANCE CA 90505-6219

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 PO BOX 54110                                                                                              SHIELDS FAMILY TRUST
 LOS ANGELES, CA 90054                                                                                     6446 FORESTER DRIVE
                                                                                                           HUNTINGTON BEACH, CA 92648-
                                                                                                           6613

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 MARY ANN AND DENNIS SHIELDS                      CAPISTRANO BEACH, CA 92624-1560                          1180 W DESERT SPARROW DR
 23042 CASSANO DR                                                                                          ST. GEORGE UT 84790
 LAGUNA NIGUEL, CA 92677-2707

 RDI - SECURED                                    RDI - SECURED                                            RDI - SECURED
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 MERRILL AND CAROL CLISBY                         MERRILL AND CAROL CLISBY                                 ADDRESS
 29 VILLAMOURA                                    THE CLISBY FAMILY TRUST                                  MICHAEL AND JANICE DINGILLO
 LAGUNA NIGUEL CA 92677                           2 LAS ESTRELLAS LOOP, UNIT 412                           2019 VIA AGUILA
                                                  RANCHO MISSION VIEJO, CA 92694-                          SAN CLEMENTE CA 92673
                                                  2416

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 1009 LOCKLAYER ST.                               LAGUNA NIGUEL, CA 92677-2027                             30782 CALLE MORAGA
 SAN DIMAS CA 91773                                                                                        LAGUNA NIGUEL, CA 92677-5503

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 PETRUCCI                                         11847 GORHAM AVENUE, #302                                33282 ACAPULCO DR.
 23500 BENDING OAK COURT                          LOS ANGELES, CA 90049                                    DANA POINT CA 92629
 MURRIETA CA 92562

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 O'BRIEN FAMILY TRUST DATED                       LOS ANGELES CA 90025                                     PAMELA J. MONGER
 7/4/2005                                                                                                  304 W. LAKE SAMMAMISH PKY NE
 MICHAEL J. O'BRIEN, TRUSTEE                                                                               BELLEVUE, WA 98008
 321 COMPASS ROSE DRIVE
 DAYTONA, FL 32124

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 ADDRESS                                          PHYLLIS AND GERALD WATERS                                PILLSBURY WINTHROP SHAW
 PHILLIP E GRIFFITH                               19232 BECKONRIDGE LANE                                   PITTMAN LLP
 5310 CALLE DE RICARDO                            HUNTINGTON BEACH CA 9268                                 CHRISTINE A SCHEUNMAN
 TORRANCE, CA 90505-6219                                                                                   725 SOUTH FIGUEROA STREET
                                                                                                           SUITE 2800
                                                                                                           LOS ANGELES, CA 90017-5406

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 PITTMAN LLP                                      PITTMAN LLP                                              PITTMAN LLP
 JOHN M. GRENFELL                                 MANAGING PARTNER                                         BARBARA L. CROUTCH
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 SAN FRANCISCO, CA 94111-5998                                                                              LOS ANGELES, CA 90017-5406

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 ADDRESS                                          R. JOHN & JEANNE C. HANNAH                               ADDRESS
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 WILLIAM E. POPE, TRUSTEE                         TORRANCE CA 90505                                        4905 ALICANTE WAY
 80721 CHERRY HILLS DR                                                                                     OCEANSIDE CA 92056
 LA QUINTA, CA 92253

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 GAYLE K. HASKELL REVOCABLE                                                                                3840 LAKESHORE BLVD.
 TRUST                                                                                                     LAKEPORT, CA 95453-6617
 2036 COMMODORE ROAD
 NEWPORT BEACH CA 92660

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 15 CHELSE PT.                                    15 EASTBOURNE BAY                                        RICHARD SILVA PROFIT SHARING
 DANA POINT CA 92629-2750                         LAGUNA NIGUEL CA 92677                                   PLAN
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                                                                                                           FALLBROOK CA 92028-8042

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 ROBERT ALLEN AND JAYNE R                                                                                  33701 MARLINSPIKE DRIVE
 HESS TRUST                                                                                                MONARCH BEACH CA 92629
 79447 S. SUNRISE RIDGE DRIVE
 LA QUINTA CA 92253




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                                                  NEWPORT BEACH CA 92663                                   KIRKPATRICK
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                                                                                                           LOS ALAMITOS CA 90720

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 513 GARCIA DRIVE                                 20912 SKIMMER LANE                                       RUDY AMAYA
 HEMET, CA 92545-9318                             HUNTINGTON BEACH CA 92646                                26851 ZAPATA CIRCLE
                                                                                                           MISSION VIEJO CA 92691

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 CREDITOR/INVESTOR                                CREDITOR/INVESTOR/POC ADDRESS                            ADDRESS
 RUDY AND EILEEN AMAYA                            RYAN S. AND SHARYL L GRIFFITH                            SAN DIEGO COUNTY TREASURER -
 RAYMUNDO R AMAYA                                 3119 MARWICK                                             TAX COLLECTOR
 AMAYA FAMILY TRUST                               LONG BEACH CA 90808-3610                                 ATTN: BK DESK
 23842 WARDLOW CIRCLE                                                                                      1600 PACIFIC HIGHWAY RM 162
 LAGUNA NIGUEL, CA 92677-1710                                                                              SAN DIEGO CA 92101-2477

 RDI - SECURED                                    RDI - SECURED                                            RDI - SECURED
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 ADDRESS                                          SUSAN F. WHITE                                           ADDRESS
 SHIELDS FAMILY TRUST                             64 EMERALD BAY                                           TERRENCE LEE & ROSANN
 JANET SHIELDS                                    LAGUNA BEACH CA 92651                                    MCLAUGHLIN
 22921 PALENCIA LN                                                                                         MCLAUGHLIN REVOCABLE TRUST
 LAGUNA NIGUEL, CA 92667                                                                                   2012
                                                                                                           33871 MANTA COURT
                                                                                                           DANA POINT CA 92629

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 ADDRESS                                          THE NEWMAN FAMILY TRUST                                  ADDRESS
 THE AMAYA FAMILY TRUST                           PARVIZ M HARIRI, TRUSTEE                                 THE SILVA FAMILY TRUST
 RUDY AND EILEEN AMAYA                            6338 WILSHIRE BLVD                                       RICHARD SILVA, TRUSTEE
 23842 WARDLOW CIR                                LOS ANGELES, CA 90048                                    4012 FLOWERWOOD LANE
 LAGUNA NIGUEL, CA 92677                                                                                   FALLBROOK, CA 92028

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 CREDITOR/INVESTOR/POC                            CREDITOR/INVESTOR/POC ADDRESS                            THOMAS AND ARLENE JONES
 ADDRESS                                          THOMAS A AND SHEREE K MAY                                2995 CEYLON DRIVE
 THOMAS & JUDITH BRADY                            1420 BAY OAKS DRIVE                                      COSTA MESA, CA 92626-3603
 33101 BIG SUR STREET                             LOS OSOS, CA 93402
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 870 W. JANE CT.                                  WALTER AND NORMA SCHULTE                                 ADDRESS
 UPLAND CA 91786                                  LIVING TRUST                                             WALTER AND NORMA SCHULTE
                                                  WALTER AND NORMA SCHULTE                                 LIVING TRUST
                                                  13872 UNIVERSITY ST                                      WALTER AND NORMA SCHULTE
                                                  WESTMINSTER, CA 92683-2760                               23042 CASSANO DRIVE
                                                                                                           LAGUNA NIGUEL, CA 92677

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 13872 UNIVERSITY ST.                             LAGUNA NIGUEL, CA 92677                                  LOS ANGELES CA 90066
 WESTMINSTER CA 92683

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 RDI - SECURED                                    CREDITOR/INVESTOR/POC ADDRESS                            CREDITOR/INVESTOR
 CREDITOR/INVESTOR                                WAYNE AND JOANNE ASPINALL                                WESLEY & MARCIA KIM
 WARREN AND SHEILA NEWMAN                         FAMILY TRUST                                             P.O. BOX 97
 6338 WILSHIRE BLVD                               WAYNE AND JOANNE ASPINALL                                CORONA DEL MAR CA 92625
 LOS ANGELES, CA 90048-5002                       21534 CANARIA
                                                  MISSION VIEJO CA 92692-4977

 RDI - SECURED                                    RDI - SECURED CREDITOR/INVESTOR                          RDI - SECURED
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 WILLARD AND JUTTA LOOMIS                         635 W. FERN AVENUE                                       WILLIAM AND MYRNA WRIGHT
 5642 KINGSFORD TERRACE                           REDLANDS CA 92373                                        3900 TOPSIDE LANE
 IRVINE CA 92603                                                                                           CORONA DEL MAR CA 92625

 RDI - SECURED                                    RDI - SECURED                                            20 LARGEST CREDITOR - RUBY'S
 CREDITOR/INVESTOR/POC                            CREDITOR/INVESTOR/POC ADDRESS                            DINER INC.
 ADDRESS                                          WILLIAM E. AND JOYCE A. POPE                             BENCHMARK HOSPITALITY INC.
 WILLIAM E POPE                                   P.O. BOX 173871                                          JOHN FISHER
 WILLIAM E POPE AND ANNE                          DENVER CO 80229                                          31781 CAMINO CAPISTRANO
 PIERCE                                                                                                    SAN JUAN CAPISTRANO, CA 92675-
 POPE REVOCABLE TRUST DTD                                                                                  3226
 4/14/2016
 80721 CHERRY HILLS DRIVE
 LA QUINTA, CA 92253-5600

 20 LARGEST CREDITOR - RUBY'S                     20 LARGEST CREDITOR - RUBY'S                             20 LARGEST CREDITOR/POC
 DINER INC.                                       DINER INC.                                               ADDRESS - RUBY'S DINER INC.
 CALIFORNIA RESTAURANT                            CALIFORNIA RESTAURANT MUTUAL                             CROUDACE & DIETRICH LLP
 MUTUAL                                           OFFICER DIRECTOR MANAGER OR                              OFFICER DIRECTOR MANAGER OR
 BENEFIT CORPORATION                              AGENT                                                    AGENT
 DAVID JOHNSON AGENT                              PO BOX 45783                                             2151 MICHELSON DRIVE SUITE 162
 430 N VINEYARD AVE SUITE 102                     SAN FRANCISCO, CA 94145-0783                             IRVINE CA 92612-0305
 ONTARIO, CA 91764-5453

 RTD 08/28/20 UTF                                 RTD 09/22/20 UTF                                         20 LARGEST CREDITOR - RUBY'S
 20 LARGEST CREDITOR - RUBY'S                     20 LARGEST CREDITOR - RUBY'S                             DINER INC. - CREDITOR/INVESTOR
 DINER INC.                                       DINER INC.                                               EMANUEL AND JEAN GLASS
 DIMITRI'S RESTAURANT INC                         EAT AT JOES RESTAURANT INC.                              176 MIRA DEL OESTE
 JOHN GANTES AND GEORGE                           JOE CAMPBELL                                             SAN CLEMENTE, CA 92673
 GANTES                                           18 BLUE JAY
 30252 TOMAS                                      ALISO VIEJO, CA 92656-1870
 SUITE 200
 RANCHO SANTA MARGARITA, CA
 92688-2135




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 20 LARGEST CREDITOR/POC                          DINER INC.                                               DINER INC.
 ADDRESS - RUBY'S DINER INC. -                    GLASSRATNER ADVISORY & CAPITAL                           GLASSRATNER ADVISORY &
 CREDITOR/INVESTOR/POC                            GRP                                                      CAPITAL GRP
 ADDRESS                                          OFFICER DIRECTOR MANAGER OR                              OFFICER, DIRECTOR, MANAGER,
 EMANUEL AND JEAN GLASS                           AGENT                                                    AGENT
 36 CAMINO KATIA                                  19800 MACARTHUR BLVD                                     3445 PEACHTREE ROAD
 SAN CLEMENTE, CA 92672-9420                      SUITE 820                                                SUITE 1225
                                                  IRVINE, CA 92612-2427                                    ATLANTA, GA 30326-3241

 20 LARGEST CREDITOR - RUBY'S                     20 LARGEST CREDITOR - RUBY'S                             20 LARGEST CREDITOR - RUBY'S
 DINER INC.                                       DINER INC.                                               DINER INC.
 JOHN F AND ELIZABETH KNIGHT                      JOHN P AND KATHLEEN H TEELE                              KOHUT & KOHUT LLP C/O JACKSON
 JOHN AND ELIZAGETH KNIGHT                        THE TEELE FAMILY TRUST                                   TIDUS
 TRUST                                            1917 YACHT PURITAN                                       RONALD KOHUT PARTNER
 DTD 01/06/2016                                   NEWPORT BEACH, CA 92660-6716                             2030 MAIN STREET
 167 BAY SHORE AVENUE                                                                                      12TH FLOOR
 LONG BEACH, CA 90803-3452                                                                                 IRVINE, CA 92614-7219

 20 LARGEST CREDITOR - RUBY'S                     20 LARGEST CREDITOR - RUBY'S                             RTD 08/13/21 UTF
 DINER INC.                                       DINER INC. - CREDITOR/INVESTOR                           20 LARGEST CREDITOR - RUBY'S
 MARY ELIN AND MARK H ELLIS                       MICHAEL AND KATHRYN MUNZ                                 DINER INC.
 ELLIS SURVIVORS TRUST                            MUNZ FAMILY TRUST                                        PAUL AND BARBARA J PEBBLES
 34811 CALLE FORTUNA                              520 AVOCADO AVENUE                                       11862 JOHN AVE
 CAPISTRANO BEACH, CA 92624-                      CORONA DEL MAR, CA 92625-1918                            GARDEN GROVE, CA 92840-3718
 1560

 20 LARGEST CREDITOR - RUBY'S                     RTD 10/29/20 UTF                                         RTD 08/16/21 UTF
 DINER INC.                                       20 LARGEST CREDITOR - RUBY'S                             20 LARGEST CREDITOR - RUBY'S
 RUBY'S DINER CITADEL LLC/                        DINER INC.                                               DINER INC.
 EUREKA FOODS LLC                                 RUBY'S DINER ORANGE DEPOT LLC                            RUBY'S DINER ORANGE DEPOT,
 STEVEN L CRAIG                                   JOHN A FISHER AND FABIO RUSSO                            LLC
 4100 MACARTHUR BLVD. SUITE                       AND                                                      OFFICER, DIRECTOR, MANAGER,
 200                                              JOE CAMPBELL                                             AGENT
 NEWPORT BEACH, CA 92660-2064                     1640 ORD WAY                                             186 N. ATCHISON
                                                  OCEANSIDE, CA 92056-1500                                 YORBA LINDA, CA 92886

 20 LARGEST CREDITOR - RUBY'S                     20 LARGEST CREDITOR/POC                                  20 LARGEST CREDITOR - RUBY'S
 DINER INC.                                       ADDRESS - RUBY'S DINER INC.                              DINER INC.
 SNELL & WILMER LLP                               SNELL & WILMER LLP                                       US FOODS - LA MIRADA
 MANAGING PARTNER                                 OFFICER DIRECTOR MANAGER OR                              ATTN EVALYN FRAZIER ELSTON
 ONE ARIZONA CENTER                               AGENT                                                    15155 NORTHAM STREET
 PHOENIX, AZ 85004-2281                           600 ANTON BLVD                                           LA MIRADA, CA 90638-5754
                                                  SUITE 1400
                                                  COSTA MESA, CA 92626-7689




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 20 LARGEST CREDITOR - RUBY'S                     ADDRESS - RUBY'S DINER INC.                              ADDRESS - RUBY'S DINER INC.
 DINER INC.                                       WEILAND GOLDEN GOODRICH LLP                              WILLIAM C AND CYNTHIA LYNN
 WARREN AND SHEILA NEWMAN                         F/K/A LOBEL WEILAND GOLDEN                               TAORMINA
 NEWMAN FAMILY TRUST                              FRIEDMAN                                                 CO TRUSTEES OF TAORMINA
 11911 LAWLER STREET                              MICHAEL WEILAND, PARTNER                                 REVOCABLE INTER-VIVOS TRUST
 LOS ANGELES, CA 90066-2009                       650 TOWN CENTER DRIVE, SUITE 600                         U/T/D J
                                                  COSTA MESA, CA 92626-7121                                TAORMINA FAMILY VENTURE FUND
                                                                                                           LLC
                                                                                                           611 E ADELE ST
                                                                                                           ANAHEIM, CA 92805-3044

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 DINER INC.                                       3 WIRE GROUP INC                                         A PRICE MACNAIR
 WILLIAM C TAORMINA TRUSTEE                       OFFICER DIRECTOR MANAGER OR                              C/O ALFRED P MACNAIR TRUST
 OF THE                                           AGENT                                                    1551 E CHEVY CHASE DRIVE
 TAORMINA REV TRUST DTD                           NW 7964                                                  SUITE 213
 7/26/1983                                        PO BOX 1450                                              GLENDALE, CA 91206-4170
 128 W SYCAMORE                                   MINNEAPOLIS, MN 55485-7964
 ANAHEIM, CA 92805-2603

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 KICHLINE                                         DESERT HOT SPRINGS, CA 92240-                            WESTMINSTER, CA 92683-5426
 THE KICHLINE 1992 FAMILY                         3257
 TRUST
 33721 CROSSTACK DRIVE
 DANA POINT, CA 92629-4478

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 VAN NUYS, CA 91406-4547                          SANTA ANA, CA 92706-3228                                 SUITE 222
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 7812 RONALD DRIVE                                DESERT HOT SPRINGS, CA 92240                             TUSTIN, CA 92780-8816
 HUNTINGTON BEACH, CA 92647-
 7507

 1019 - RDI - CH 11                               RDI - CREDITOR                                           RDI - CREDITOR/POC ADDRESS
 ACCOUNTEMPS                                      ACCOUNTEMPS                                              ACCOUNTEMPS
 OFFICER DIRECTOR MANAGER                         OFFICER DIRECTOR MANAGER OR                              C/O ROBERT HALF, ATTN: AMBERT
 OR AGENT                                         AGENT                                                    BAPTISTE
 PO BOX 743295                                    PO BOX 743295                                            PO BOX 5024
 LOS ANGELES, CA 90074-3295                       LOS ANGELES, CA 90074-3295                               SAN RAMO, CA 94583




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 ACOSTA SUBSIDIARY HOLDINGS                       ADAM BEDOLLA                                             RDI - CREDITOR
 INC                                              324 MAGDALENA DRIVE                                      ADAM MARSH
 DBA ADW ACOSTA LLC                               OCEANSIDE, CA 92057-6603                                 21 CAROLINA
 ATTN: TIM WILLIAMS, ACOSTA                                                                                IRVINE, CA 92620-1826
 SALES AND MARKETING
 6600 CORPORATE CENTER PKWY
 JACKSONVILLE, FL 32216-0973

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 244 N 6TH STREET                                 2006 HUNTINGTON STREET #A                                31 BENTWOOD LANE
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 ADVANCED RESTAURANT                              AEC SUSTAINABLE URBAN POWER                              AETNA
 SUPPLY                                           OFFICER DIRECTOR MANAGER OR                              OFFICER DIRECTOR MANAGER OR
 OFFICER DIRECTOR MANAGER                         AGENT                                                    AGENT
 OR AGENT                                         101 N. BAYSIDE DR.                                       PO BOX 31001-1408
 337 W GROVE AVENUE                               NEWPORT BEACH, CA 92660                                  PASADENA, CA 91110-0001
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 AFP SADDINGTON LLP                               486 HAWTHORNE AVE                                        REFRIGERATION IN
 ATTN HUGH SADDINGTON                             EL CAJON, CA 92020-5618                                  DAVE LANGSTON
 18201 VON KARMAN AVENUE                                                                                   15122 BOLSA CHICA ST
 SUITE 450                                                                                                 HUNTINGTON BEACH, CA 92649-
 IRVINE, CA 92612-1195                                                                                     1025

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 8734 E INDIAN HILLS ROAD UNIT                    5620 OLD RANCH ROAD                                      4 MEADOWSWEET
 F                                                OCEANSIDE, CA 92057-5614                                 IRVINE, CA 92612-2715
 ORANGE, CA 92869-5832

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                                                  DANA POINT CA 92629

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 32555 SKY BLUE WATER APT #2                      1307 BAKER STREET #A                                     320 N PARK VISTA #195
 CATHEDRAL CITY, CA 92234-9519                    COSTA MESA, CA 92626-3942                                ANAHEIM, CA 92806-3735

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 ALEC ALEXANDER                                   ALEJANDRA HERNANDEZ                                      8427 TOBIAS AVE APT #6
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                                                  92688-2402

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 234 LANTERN LN                                   IRVINE, CA 92620                                         1425 BUSH ST APT B
 IRVINE, CA 92618-3905                                                                                     OCEANSIDE, CA 92058-2673

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 3 VIA HUESCA                                     TROY WESTERFIELD - GUARDIAN                              HUNTINGTON BEACH, CA 92648-
 SAN CLEMENTE CA 92673                            3 VIA HUESCA                                             2603
                                                  SAN CLEMENTE, CA 92673-6713

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 SAN DIEGO, CA 92120-2743

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 ALIK DESANTIAGO-BLAHA                            ALISA WALKER                                             ALISSA SCHWABENLAND
 1682 W CINDY LANE #B                             2759 COLLEGE BLVD                                        3541 THORNLAKE AVE
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 ALL IN ONE ELECTRIC                              ALLAN R YANEZ                                            ALLANA MITCHELL
 RU GROUNDED INC                                  4228 LEWIS STREET                                        3469 SPECTRUM
 OFFICER DIRECTOR MANAGER                         OCEANSIDE, CA 92056-4251                                 IRVINE, CA 92618-3376
 OR AGENT
 6216 E PACIFIC COAST HWY #320
 LONG BEACH, CA 90803-4867

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 ALLEN E RICHARDSON                               14522 SWEETAN STREET                                     4233 REDLINE DRIVE
 23815 VILLENA                                    IRVINE, CA 92604-2426                                    LAKEWOOD, CA 90713-3332
 MISSION VIEJO, CA 92692

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 27955 ENCANTO                                    17676 SAN CANDELO STREET                                 14421 RED HILL AVE APT 17
 MISSION VIEJO, CA 92692-2610                     FOUNTAIN VALLEY, CA 92708-5353                           TUSTIN, CA 92780-6245

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 RDI - CREDITOR                                   ALYSSA FAUST                                             ALYSSA TELEPNEV
 ALYSSA DENNIS                                    2575 WILT ROAD                                           19721 WATERBURY LANE
 3182 COUNTRY CLUB DRIVE                          FALLBROOK, CA 92028-9587                                 HUNTINGTON BEACH, CA 92646-
 COSTA MESA, CA 92626-2344                                                                                 3500

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 AMADEO BELTRAN                                   AMANDA FABELA                                            AMANDA GARBER
 1202 S CORTA DRIVE                               18651 DEMION LANE APT B                                  30 CHRISTAMON E
 SANTA ANA, CA 92704-1918                         HUNTINGTON BEACH, CA 92646-8846                          IRVINE, CA 92620-1829

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 AMANDA SLIGAR                                    23 PALERMO                                               5 WOODSORREL
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 CORONA, CA 92880-4628

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 1543 E BROCKTON AVE                              9350 BOLSA AVE #28                                       19011 STONEHURST LANE
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 344 GARFILED STREET APT #5                       15 CREEKWOOD                                             PO BOX 868
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 OR AGENT
 649 SOUTH B STREET
 TUSTIN, CA 92780-4317

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 ANDREW SMITH                                     ANDY SOSA                                                ANDY'S MAINTANENCE
 811 SANTA MARIA                                  2029 S HALLADAY STREET                                   OFFICER DIRECTOR MANAGER OR
 IRVINE, CA 92606-0603                            SANTA ANA, CA 92707-2903                                 AGENT
                                                                                                           4624 WEST 14TH STREET
                                                                                                           LAWNDALE, CA 90260-2002

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 ANGEL BAZAN                                      ANGEL CUAHUIZO                                           ANGEL N MENERA
 4170 SYCAMORE DRIVE                              1500 SAN RAFAEL DRIVE #175                               390 E RAMSEY STREET
 SAN DIEGO, CA 92105-4562                         PALM SPRINGS, CA 92262-1724                              BANNING, CA 92220-4844

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 ANGEL RODRIGUEZ FRANCISCO                        ANGELA FICAROTTA                                         ANGELICA NAJERA
 729 UTICA AVENUE #5                              537 OMAR STREET                                          854 CENTER STREET APT #3
 HUNTINGTON BEACH, CA 92648-                      BANNING, CA 92220-1290                                   COSTA MESA, CA 92627-3592
 3272

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 ANGELINA R PENA                                  ANGELIQUE ESCOBOSA                                       ANGELIQUE FINCK
 2055 WESTINGHOUSE ST APT 63                      4457 WHITE PINE WAY                                      14411 MONROE LANE
 SAN DIEGO, CA 92111-6662                         OCEANSIDE, CA 92057-6631                                 WESTMINSTER, CA 92683-4519

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 ANNA ESCOBOSA                                    RDI - CREDITOR                                           ANNA SEDGWICK
 4451 WHITE PINE WAY                              ANNA MELLO                                               27092 HIDDEN TRAIL RD
 OCEANSIDE, CA 92057                              3500 S GREENMILE APT 4                                   LAGUNA HILLS, CA 92653-5807
                                                  SANTA ANA, CA 92704-7000

 RDI - CREDITOR                                   RDI - CREDITOR                                           RDI - CREDITOR/INVESTOR
 ANNA UNKE                                        ANNAROSA CAMIRO                                          ANTHONY & JILL ALVAREZ
 25491 SHAWNEE DRIVE                              2723 EMERALD DRIVE                                       1618 VIA SAGE
 LAKE FOREST, CA 92630-3538                       OCEANSIDE, CA 92056-3430                                 SAN CLEMENTE CA 92573

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 ANTHONY ALESSI HMSHOST                           ANTHONY CHEATHAM                                         ANTHONY CORDERO RODRIGUEZ
 660 ROCKLEDGE DRIVE                              130 W HILL AVE #100                                      22840 STERLING AVE #23
 BETHESDA, MD 20817                               FULLERTON, CA 92832-2983                                 PALM DESERT, CA 92260




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 ANTHONY DE SOUZA                                 ANTHONY DOW                                              ANTHONY M PEPITONE
 5480 COPPER CANYON RD UNIT                       22821 SHERMAN WAY                                        1918 KAUAI DRIVE
 D                                                WEST HILLS, CA 91307-2234                                COSTA MESA, CA 92626-3542
 YORBA LINDA, CA 92887-3937

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 ANTHONY NAPOLES                                  ANTONIO ARELLANO                                         ANTONIO CUAHUIZO TOXQUI
 21816 PIONEER BLVD. APT 1                        26571 NORMANDALE DR #34F                                 22840 STERLING AVE #42
 HAWAIIAN GARDENS, CA 90716-                      LAKE FOREST, CA 92630-7965                               PALM SPRINGS, CA 92262-6222
 1238

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 ANTONIO DURAN                                    ANTONIO JIMENEZ                                          ANTONIO RIVERA CASTORELA
 1765 CEDAR APT #1                                2501 W SUNFLOWER H8                                      1310 BREEZE STREET
 LONG BEACH, CA 90813-1745                        SANTA ANA, CA 92704-7503                                 OCEANSIDE, CA 92058-2262

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 ANTONIO TRUJILLO                                 ARACELI MARTINEZ                                         ARACELY HERNANDEZ
 1994 MAPLE AVE #5                                84420 AMAPOLA LN                                         15361 BEACH BLVD
 COSTA MESA, CA 92627-2654                        COACHELLA, CA 92236-3201                                 MIDWAY CITY, CA 92655-1504

 RDI - CREDITOR                                   RDI - CREDITOR/POC ADDRESS                               RDI - CREDITOR/INVESTOR
 ARIANNA BEDOLLA                                  ARKANSAS TECH UNIVERSITY                                 ARLEN ROBERT DIAMOND
 324 MAGDALENA DR                                 FOUNDATION                                               3935 HOLLYLINE AVENUE
 OCEANSIDE, CA 92057-6603                         ATTN: PEGGY AYERS                                        SHERMAN OAKS CA 91423
                                                  1509 N BOULDER AVE
                                                  RUSSELLVILLE, AR 72801-8800

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 ARMANDO BELTRAN                                  ARMANDO CHAVEZ                                           ARMANDO FIGUEROA
 14311 BROWNING AVE APT 44                        442 BROOKS ST APT A                                      131 PIONEER TRAIL
 TUSTIN, CA 92780-6390                            OCEANSIDE, CA 92054-3327                                 PALM SPRINGS, CA 92262-1142

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 ASHLEY ROBERTSON                                 AT&T UT                                                  AUBRIE HUDSON
 300 HOLGATE STREET                               OFFICER DIRECTOR MANAGER OR                              25505 RIVER BEND DRIVE APT. F
 LA HABRA, CA 90631-4223                          AGENT                                                    YORBA LINDA, CA 92887
                                                  PO BOX 105068
                                                  ATLANTA, GA 30348-5068

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 HUNTINGTON BEACH, CA 92648-                      OFFICER DIRECTOR MANAGER OR                              OFFICER DIRECTOR MANAGER OR
 3722                                             AGENT                                                    AGENT
                                                  4020 BANDINI BLVD.                                       PO BOX 2900
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                                                                                                           4100 MACARTHUR BLVD
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 2345 GRAND BLVD., STE. 2200                      TUSTIN, CA 92780-4848                                    GARDEN GROVE, CA 92840-2902
 KANSAS CITY, MO 64108-2618

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 6422 TROOST AVE APT 7                            14261 BROWNING AVE #8                                    3788 41ST ST APT 106
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 UNIT 6
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 OR AGENT                                         AND FEE ADMINISTRATION                                   19361 BROOKHURST STREET
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 NASHVILLE, TN 37204-1503                         MIC: 29                                                  2924
                                                  PO BOX 942879
                                                  SACRAMENTO, CA 94279-0029

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                                                  PO BOX 3900
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                                                                                                           120 BROADWAY, SUITE 300
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                                                  3161 MICHELSON DRIVE
                                                  SUITE 1500
                                                  IRVINE, CA 92612-4414

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                                                  HUNTINGTON BEACH, CA 92646-7633                          23041 ALCALDE DRIVE
                                                                                                           LAGUNA HILLS, CA 92653-1301

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                                                  DIRECTOR                                                 BANKRUPTCY TEAM
                                                  605 WEST SANTA ANA BLVD                                  MIC: 74
                                                  BLDG. 28 ROOM 625                                        PO BOX 942879
                                                  SANTA ANA, CA 92701                                      SACRAMENTO, CA 94279-0001

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 BANKRUPTCY BE MS A345                            SACRAMENTO, CA 95812-2815                                SUITE 1740
 PO BOX 2952                                                                                               SACRAMENTO, CA 95814-2954
 SACRAMENTO, CA 95812-2952

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 1515 K STREET                                    PO BOX 942836                                            AGRICULTURE
 SUITE 200                                        SACRAMENTO, CA 94236-0001                                1220 N. STREET
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 JUSTICE                                          SUBSTANCES CONTROL                                       CONSERVATION
 XAVIER BECERRA, ATTORNEY                         1001 I STREET                                            801 K STREET
 GENERAL                                          11TH FLOOR                                               MS 24-01
 300 S. SPRING STREET                             SACRAMENTO, CA 95814-2828                                SACRAMENTO, CA 95814-3528
 SUITE 1700
 LOS ANGELES, CA 90013-1256

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 300 S SPRING STREET                              CDFA/NDFS                                                FOOD AND DRUG BRANCH
 SUITE 15513                                      PO BOX 942872                                            PO BOX 997435
 LOS ANGELES, CA 90013-1259                       SACRAMENTO, CA 94271-2872                                MS 7602
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 ENVIRONMENTAL FEE                                ADMINISTRATION                                           PROTECTION
 PO BOX 942879                                    SPECIAL OPERATIONS BRANCH MIC                            AGENCY
 SACRAMENTO, CA 94279-6001                        55                                                       1001 'I' STREET
                                                  450 N STREET                                             PO BOX 2815
                                                  PO BOX 942879                                            SACRAMENTO, CA 95812-2815
                                                  SACRAMENTO, CA 94279-0055

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 1001 I STREET                                    PASADENA, CA 91189-1711                                  621 CAPITOL MALL
 PO BOX 2815                                                                                               SUITE 2000
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 OFFICER DIRECTOR MANAGER                         10600 WHITE ROCK ROAD #141                               OCEANSIDE, CA 92057-3427
 OR AGENT                                         RANCHO CORDOVA, CA 95670-6293
 PO BOX 45783
 SAN FRANCISCO, CA 94145-0783

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                                                                                                           20750 VENURA BLVD
                                                                                                           SUITE 200
                                                                                                           WOODLAND HILLS, CA 91364-6249

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 COVINA, CA 91723-1141                            LAGUNA HILLS, CA 92653-4207                              WILMINGTON CA 90744




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 CAROL P GRUBER FAMILY TRUST                      CHULA VISTA, CA 91911-3313                               BEAUMONT, CA 92223-8067
 3204 CANYON VIEW DRIVE
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 1002 S TREMONT STREET                            CATHERINE C. MEALER SURVIVORS                            14031 LEFFINGWELL R #403
 OCEANSIDE, CA 92054-5051                         TRUST                                                    WHITTIER, CA 90604-4212
                                                  10805 HAT CREEK PLACE
                                                  COLORADO SPRINGS, CO 80908-4183

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 815 S DEMAREE STREET                             WINNETKA, CA 91306-2860                                  FIELDS
 VISALIA, CA 93277-1782                                                                                    THE FIELDS LIVING TRUST
                                                                                                           709 ORCHID AVE.
                                                                                                           CORONA DEL MAR CA 92625

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 173 MADISON STREET                               9139 WESTMINSTER AVE                                     3111 MORNINGSIDE DRIVE
 OCEANSIDE, CA 92057-4410                         GARDEN GROVE, CA 92844-2704                              OCEANSIDE, CA 92056-4412




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 CESAR EDUARDO PEREZ                              CESAR ESQUIVEL-GALAN                                     CESAR HERNANDEZ
 CASTILLA                                         1805 N BUSH STREET #7                                    160 TROPICANA DRIVE
 630 MASSACHUSETTS AVE SPC                        SANTA ANA, CA 92706-2827                                 OCEANSIDE, CA 92054-3821
 100
 BEAUMONT, CA 92223-2582

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 330 W 19TH ST #203                               825 CENTER STREET APT C220                               7545 KATELLA AVENUE #54
 LONG BEACH, CA 90806-5398                        COSTA MESA, CA 92627-6106                                STANTON, CA 90680-2259

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 9 IVY HILL                                       0615 SW PALATINE HILL RD                                 CHARLES AND GLORIA JOHNSON
 IRVINE, CA 92604-4661                            PORTLAND, OR 97219-7879                                  7704 ARMOUR DRIVE
                                                                                                           HEMET CA 92545

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 VISTA, CA 92083-8053                             LONG BEACH, CA 90814-1945                                HUNTINGTON BEACH, CA 92646-
                                                                                                           8422

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 OCEANSIDE, CA 92056-6318                         LAGUNA NIGUEL CA 92677                                   COSTA MESA, CA 92626-1664

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 PO BOX 12021                                     FOUNTAIN VALLEY, CA 92708-4535                           HOUSTON, TX 77040-5115
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 4 JUAN CIRCLE                                    624 DE LUZ ROAD APT 47                                   24641 CRESTA COURT
 PALM SPRINGS, CA 92262-1433                      FALLBROOK, CA 92028-1977                                 LAGUNA HILLS, CA 92653-4206

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 CHRISTINA M DRIESBAUGH                           CHRISTINA SANCHEZ                                        CHRISTOPHER ALLEN ROBERTSON
 13379 APACHE TRAIL                               488 LARAINE DRIVE                                        1409 ARROW LANE
 CABAZON, CA 92230-2148                           BEAUMONT, CA 92223-1537                                  HUNTINGTON BEACH, CA 92648-
                                                                                                           3712

 RDI - CREDITOR                                   RDI - CREDITOR                                           RDI - CREDITOR
 CHRISTOPHER BAKER                                CHRISTOPHER BENITEZ                                      CHRISTOPHER GARDNER
 7943 4TH PLACE                                   96 BRIARWOOD                                             80 HUNTINGTON STREET #305
 DOWNEY, CA 90241-3238                            IRVINE, CA 92604-3752                                    HUNTINGTON BEACH, CA 92648-
                                                                                                           5344




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 RDI - CREDITOR                                   RDI - CREDITOR                                           RTD 08/09/21 UTF
 CHRISTOPHER R HANSARD                            CHRISTOPHER SIGLER                                       RDI - CREDITOR
 506 CALLE MONTECITO                              532 HAZEL                                                CHRISTY L FOWLER
 OCEANSIDE, CA 92057-5248                         CORONA DEL MAR, CA 92625-2535                            PO BOX 5393
                                                                                                           HUNTINGTON BEACH, CA 92615-
                                                                                                           5393

 RDI - CREDITOR                                   RDI - CREDITOR                                           RDI - CREDITOR
 CHRISTY RATLIFF                                  CIERRA DIAZ                                              CITY OF IRVINE
 9229 CITY LIGHTS DRIVE                           524 BIG BEND WAY APT C                                   ATTN. BUSINESS LICENSE
 ALISO VIEJO, CA 92656-2658                       OCEANSIDE, CA 92058-7949                                 PO BOX 19575
                                                                                                           IRVINE, CA 92623-9575

 RDI - CREDITOR                                   RTD 08/02/21 UTF                                         RDI - CREDITOR
 CITY OF NEWPORT BEACH                            RDI - CREDITOR/POC ADDRESS                               CIVICOM INC
 REVENUE DIVISION                                 CITY OF OCEANSIDE                                        OFFICER DIRECTOR MANAGER OR
 PO BOX 1935                                      300 NORTH COAST HWY                                      AGENT
 CA 93658                                         OCEANSIDE, CA 92054-2859                                 PO BOX 4689
                                                                                                           GREENWICH, CT 06831-0412

 RDI - CREDITOR                                   RDI - CREDITOR                                           RDI - CREDITOR
 CLAIRE MITCHELL                                  CLAUDIA CARRENO                                          CLAUDIA FELIX
 6703 E SALVADOR STREET                           1475 OAK DRIVE APT 30                                    669 E LINCOLN STREET
 LONG BEACH, CA 90815-2406                        VISTA, CA 92084-4030                                     BANNING, CA 92220-6065

 RDI - CREDITOR                                   RDI - CREDITOR                                           RDI - CREDITOR
 CLAUDIA MAGALLANES                               CLEVELAND HEARTLAB INC                                   CLYDE & CO LLP
 325 POMELO DRIVE #A11                            OFFICER DIRECTOR MANAGER OR                              OFFICER DIRECTOR MANAGER OR
 VISTA, CA 92081-6497                             AGENT                                                    AGENT
                                                  DEPT CH19545                                             PO BOX 7001
                                                  PALATINE, IL 60055-9545                                  DUBAI, UNITED ARAB EMERITES

 RDI - CREDITOR                                   RTD 08/12/21 UTF                                         RDI - CREDITOR
 COLEMAN S R MORGAN                               RDI - CREDITOR                                           COMPEAT INC
 1445 PEACOCK BLVD                                COLIN COOPER                                             OFFICER DIRECTOR MANAGER OR
 OCEANSIDE, CA 92056-3036                         222 FRANKFORT AVE                                        AGENT
                                                  HUNTINGTON BEACH, CA 92648-4928                          773 SAN MARIN DRIVE
                                                                                                           SUITE 2320
                                                                                                           NOVATO, CA 94945-1366

 RDI - CREDITOR - 1019 RDI CH 11                  RDI - CREDITOR/POC ADDRESS - 1019                        RDI - CREDITOR
 COMPLETE OFFICE OF                               - RDI - CH 11                                            COMPUMARK
 CALIFORNIA INC                                   COMPLETE OFFICE OF CALIFORNIA,                           OFFICER DIRECTOR MANAGER OR
 OFFICER DIRECTOR MANAGER                         INC                                                      AGENT
 OR AGENT                                         OFFICER DIRECTOR MANAGER OR                              PO BOX 71892
 PO BOX 4318                                      AGENT                                                    CHICAGO, IL 60694-1892
 CERRITOS, CA 90703-4318                          12724 MOORE STREET
                                                  CERRITOS, CA 90703-2121

 RDI - CREDITOR/INVESTOR/POC                      RDI - CREDITOR/INVESTOR/POC                              RDI - CREDITOR
 ADDRESS                                          ADDRESS                                                  CONNIE PEREZ
 CONNIE O'BRIEN                                   CONNIE O'BRIEN                                           51453 BONITA AVE
 O'BRIEN FAMILY TRUST                             O'BRIEN FAMILY TRUST                                     CABAZON, CA 92230-3314
 39993 CORTE LORCA                                321 COMPASS ROSE DRIVE
 MURRIETA CA 92562                                DAYTONA BEACH, FL 32124


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 CORAL ANN GANGITANO                              CORFIELD FELD LLP                                        CORINA ESTRADA
 322 6TH STREET                                   OFFICER DIRECTOR MANAGER OR                              15472 FRIAR STREET
 HUNTINGTON BEACH, CA 92648-                      AGENT                                                    VAN NUYS, CA 91411-1011
 4602                                             30270 RANCHO VIEJO ROAD
                                                  SAN JUAN CAPISTRANO, CA 92675-
                                                  1556

 RDI - CREDITOR                                   RDI - CREDITOR                                           RDI - CREDITOR - 1019 RDI CH 11
 CORODATA RECORDS                                 CORODATA RECORDS MANAGEMENT                              CORODATA SHREDDING INC
 MANAGEMENT INC                                   INC                                                      OFFICER DIRECTOR MANAGER OR
 ROBERT J SCHMITZ AGENT                           ROBERT J SCHMITZ CEO                                     AGENT
 PO BOX 842638                                    12375 KERRAN STREET                                      PO BOX 846137
 LOS ANGELES, CA 90084-2638                       POWAY, CA 92064-6801                                     LOS ANGELES, CA 90084-6137

 RDI - CREDITOR                                   RDI - CREDITOR/POC ADDRESS                               RDI - CREDITOR
 CORPORATE CREATIONS                              CORY HELMS                                               COSTCO
 CALIFORNIA INC.                                  11160-C1 SOUTH LAKES DRIVE                               OFFICER DIRECTOR MANAGER OR
 AGENT FOR SERVICES OF                            #278                                                     AGENT
 PROCESS                                          RESTON, VA 20191-4327                                    999 LAKE DRIVE
 11380 PROSPERITY FARMS RD                                                                                 ISSAQUAH, WA 98027-5367
 STE 221
 PALM BEACH GARDENS FL
 33410-3465
 USPS CHANGE

 RDI - CREDITOR                                   RDI - CREDITOR                                           RDI - CREDITOR
 COSTCO MEMBERSHIP                                COUNTY OF ORANGE                                         COURTNEY CLYDE
 OFFICER DIRECTOR MANAGER                         ATTN. TREASURER-TAX COLLECTOR                            2000 PARK AVENUE #12
 OR AGENT                                         PO BOX 1438                                              LONG BEACH, CA 90815-2845
 PO BOX 34783                                     SANTA ANA, CA 92702-1438
 SEATTLE, WA 98124-1783

 RDI - CREDITOR                                   RDI - CREDITOR                                           RTD 08/09/21 UTF
 COURTNEY SMITH                                   COX BUSINESS                                             RDI - CREDITOR
 401 ATLANTA AVENUE #50                           DEPARTMENT 102280                                        COX COMMUNICATIONS
 HUNTINGTON BEACH, CA 92648-                      PO BOX 1259                                              OFFICER DIRECTOR MANAGER OR
 5316                                             OAKS, PA 19456-1259                                      AGENT
                                                                                                           PO BOX 34783
                                                                                                           PHOENIX, AZ 85072

 RTD 08/09/21 UTF                                 RDI - CREDITOR                                           RDI - CREDITOR
 RDI - CREDITOR                                   CRISTEN ASTBURY-CYPRA                                    CRISTINA DANIELLE SANCHEZ
 CREED WREN                                       16531 ALLIANCE AVENUE #M                                 2006 HUNTINGTON STREET APT #A
 3372 TOOPAL DRIVE                                TUSTIN, CA 92780-1792                                    HUNTINGTON BEACH, CA 92648-
 OCEANSIDE, CA 92058-7494                                                                                  3198

 1019 - RDI - CH 11                               RDI - CREDITOR                                           RDI - CREDITOR
 CROUDACE & DIETRICH                              CSC LAWYERS INCORPORATING                                CT CORPORATION SYSTEM
 OFFICER DIRECTOR MANAGER                         SERVICE                                                  AGENT OF SERVICE OF PROCESS
 AGENT                                            AGENT OF SERVICE OF PROCESS                              FOR
 4750 VON KARMAN AVE                              FOR                                                      JP MORGAN CHASE BANK
 NEWPORT BEACH, CA 92660-2123                     THE IRVINE COMPANY LLC                                   111 EIGHTH AVE 13TH FLOOR
                                                  2710 GATEWAY OAKS DRIVE SUITE                            NEW YORK, NY 10011-5213
                                                  150N
                                                  SACRAMENTO, CA 95833-3502

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 CTUIT INC                                        CUSTOM BUSINESS SOLUTIONS INC                            DAJANAE A WILKERSON
 OFFICER DIRECTOR MANAGER                         OFFICER DIRECTOR MANAGER OR                              572 61ST STREET
 OR AGENT                                         AGENT                                                    SAN DIEGO, CA 92114-2411
 773 SAN MARIN DRIVE                              12 MORGAN
 SUITE 2320                                       IRVINE, CA 92618-2003
 NOVATO, CA 94945-1366

 RDI - CREDITOR                                   RDI - CREDITOR                                           RTD 08/16/21 UTF
 DALTON TETREAULT                                 DANIEL A AGUILAR-PRADO                                   RDI - CREDITOR
 914 CALIFORNIA STREET                            55910 HAUGEN LEHMAN WY                                   DANIEL ARELLANO
 HUNTINGTON BEACH, CA 92648-                      WHITEWATER, CA 92282-3158                                22751 EL PRADO APT 10306
 4302                                                                                                      RANCHO SANTA MARGARITA, CA
                                                                                                           92688-3852

 RDI - CREDITOR                                   RDI - CREDITOR                                           RDI - CREDITOR/POC ADDRESS
 DANIEL GOMEZ                                     DANIEL HERNANDEZ                                         DANIEL J AND DAWN CRAIG
 12686 LAURY LANE                                 23266 ORANGE AVENUE APT 8                                23871 WILLOWS DRIVE
 MORENO VALLEY, CA 92553-2325                     LAKE FOREST, CA 92630-4855                               APT. 390
                                                                                                           LAGUNA HILLS, CA 92653-1955

 RTD 08/09/21 UTF                                 RDI - CREDITOR                                           RTD 08/09/21 UTF
 RDI - CREDITOR                                   DANIELA FLOREZ                                           RDI - CREDITOR
 DANIEL MENDOZA                                   1036 ARENA CIRCLE                                        DANIELLE NICOLE DIAZ
 4605 BEACH BLVD #4                               VISTA, CA 92083-3177                                     2043 WHITETREE CIRCLE
 BUENA PARK, CA 90621                                                                                      HUNTINGTON BEACH, CA 92648

 RDI - CREDITOR                                   RDI - CREDITOR                                           RDI - CREDITOR
 DANIELLE POTTER                                  DANYELLE ELLIS                                           DAPHNE MALINSKY
 411 HOWARD AVENUE APT 4                          51835 LOIS AVE                                           2811 PORTOLA DRIVE
 LOS ALAMITOS, CA 90720                           CABAZON, CA 92230-4402                                   COSTA MESA, CA 92626-5820

 RTD 08/16/21 RESENT                              NEW ADDR PER USPS                                        RDI - CREDITOR
 RDI - CREDITOR                                   RDI - CREDITOR                                           DARIO DIAZ
 DAPHNE MALINSKY                                  DAPHNE MALINSKY                                          2265 PLACENTIA AVE APT B
 C/O RUBY'S DINER INC                             C/O RUBY'S DINER INC                                     COSTA MESA, CA 92627-3362
 4100 MACARTHUR BLVD                              32565 GOLDEN LANTERN ST STE B
 SUITE 310                                        1025
 NEWPORT BEACH, CA 92660-2050                     DANA POINT, CA 92629-3261

 RDI - CREDITOR/INVESTOR                          RDI - CREDITOR/INVESTOR/POC                              RDI - CREDITOR/INVESTOR
 DAVID & CLAIRE HECHT                             ADDRESS                                                  DAVID & MARGARET HAWE
 720 MAR VISTA AVENUE                             DAVID & CLAIRE HECHT                                     18082 HALLSWORTH CIRCLE
 SEAL BEACH CA 90740                              HECHT FAMILY TRUST                                       VILLA PARK CA 92861
                                                  13281 DEL MONTE DRIVE #34A
                                                  SEAL BEACH, CA 90740

 RDI - CREDITOR                                   RDI - CREDITOR                                           RDI - CREDITOR
 DAVID ALCALA                                     DAVID AND CLAIRE HECHT                                   DAVID DANIELS
 828 CHESTNUT AVENUE #11                          HECHT FAMILY TRUST                                       1742 N WILLOW WOODS DRIVE #A
 LONG BEACH, CA 90813-4175                        13281 DEL MONTE DRIVE #34A                               ANAHEIM, CA 92807-1440
                                                  SEAL BEACH, CA 90740-4574




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 DAVID LONGO                                      DE NOVO LEGAL PC                                         RDI - CREDITOR/INVESTOR
 11482 HARRISBURG RD                              2055 CORTE DEL NOGAL                                     DEANNA AND ROLAND SHORTER
 LOS ALAMITOS, CA 90720                           CARLSBAD, CA 92011-1412                                  1018 FRIEDEL AVENUE
                                                                                                           VANCOUVER WA 98664

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 ADDRESS                                          DEANNA CHRISTIE                                          RDI - CREDITOR
 DEANNA AND ROLAND SHORTER                        628 OAK GLADE ROAD                                       DEANNA STOHL
 8701 NE 88TH STREET                              FALLBROOK, CA 92028-3692                                 21270 BEACH BLVD #I207
 VANCOUVER WA 98662                                                                                        HUNTINGTON BEACH, CA 92648-
                                                                                                           5406

 RDI - CREDITOR                                   RTD 08/09/21 UTF                                         RDI - CREDITOR/POC ADDRESS
 DEBBIE CRAWFORD                                  RDI - CREDITOR/POC ADDRESS                               DEBORAH PAGET
 24259 EL PILAR                                   DEBORAH PAGET                                            2 ENTERPRISE APT 4103
 LAGUNA NIGUEL, CA 92677-3505                     234 LANTERN LANE                                         ALISO VIEJO, CA 92656
                                                  IRVINE, CA 92618-3905

 SEE NEW ADDR 01-11-21                            NEW ADDR PER NTC [DK 985]                                RDI - CREDITOR/INVESTOR
 RDI - CREDITOR/INVESTOR                          RDI - CREDITOR/INVESTOR                                  DEBORAH WILKER
 DEBORAH SIMMONS                                  DEBORAH SIMMONS                                          3217 LA ENCINA WAY
 11847 GORHAM AVENUE UNIT 302                     655 GOODPASTURE IS. RD. #118                             PASADENA CA 91107
 LOS ANGELES CA 90049                             EUGENE, OR 97401

 RDI - CREDITOR                                   RDI - CREDITOR                                           RDI - CREDITOR
 DECENENT'S TRUST OF THE                          DELANE F DUDAS                                           DELAWARE SECRETARY OF STATE
 O'TOOLE FA                                       10 WEATHERLY DRIVE                                       DELAWARE DIVISION OF
 10141 OVERHILL DRIVE                             TRABUCO CANYON, CA 92679-8607                            CORPORATIONS
 SANTA ANA, CA 92705-1515                                                                                  PO BOX 5509
                                                                                                           BINGHAMTON, NY 13902-5509

 NEW ADDR PER USPS                                RDI - CREDITOR                                           RDI - CREDITOR
 RDI - CREDITOR                                   DELILAH PHAN                                             DENISE SANCHEZ
 DELIA D CRUZ                                     344 PORTICO AISLE                                        344 N SAN GORGINIO
 21871 NEWLAND ST #263                            IRVINE, CA 92606-8348                                    BANNING, CA 92220-5522
 HUNTINGTON BEACH, CA 92646-
 7697

 SEE NEW ADDR 06-24-20                            NEW ADDR PER EMAIL 06-24-20                              RDI - CREDITOR/INVESTOR
 RDI - CREDITOR/INVESTOR                          RDI - CREDITOR/INVESTOR/POC                              DENNIS C. CHATTON
 DENNIS AND MARY SHIELDS                          ADDRESS                                                  2756 GOLDCREEK STREET
 6446 FORESTER DRIVE                              DENNIS AND MARY SHIELDS                                  HENDERSON NV 89052
 HUNTINGTON BEACH CA 92648                        23042 CASSANO DRIVE
                                                  LAGUNA NIGUEL, CA 92677

 RDI - CREDITOR                                   RDI - CREDITOR                                           RTD 08/17/21 UTF
 DENNIS DE GUZMAN                                 DENNIS H MILLER                                          RDI - CREDITOR
 37 COLONIAL                                      725 TERRA AVENUE #32A                                    DEPARTMENT OF ALCOHOLIC BEV
 IRVINE, CA 92620-2520                            ASHLAND, OR 97520-8509                                   CONT
                                                                                                           3927 LENNANE DRIVE
                                                                                                           SUITE A
                                                                                                           NEWPORT BEACH, CA 92661




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 DEREK EDWARDS                                    DEREK J ANDREWS                                          DERENICE HERNANDEZ
 1050 MAGNOLIA AVENUE                             1819 HUMMINGBIRD DRIVE                                   15601 TUSTIN VILLAGE WAY APT 18
 BEAUMONT, CA 92223-1837                          COSTA MESA, CA 92626-4802                                TUSTIN, CA 92780-4948

 RDI - CREDITOR/INVESTOR                          RDI - CREDITOR                                           RTD 08/16/21 UTF
 DEVIN POURIAN                                    DEVIN REDMOND                                            RDI - CREDITOR
 418 E. OCEANFRONT #A                             8405 SUNBEAM CIRCLE                                      DEVYN AGUILAR
 NEWPORT BEACH CA 92661                           HUNTINGTON BEACH, CA 92646-1638                          6073 E CAMINO MANZANO
                                                                                                           ANAHEIM, CA 92807-3216

 RDI - CREDITOR                                   RDI - CREDITOR/POC ADDRESS                               RDI - CREDITOR
 DEVYNN MEINER                                    DIAMOND SHARP CUTLERY SERVICE                            DIANA RAMOS
 5811 FURNACE CREEK ROAD                          AKA PRO EDGE KNIFE                                       1049 E 3RD STREET APT 4
 YORBA LINDA, CA 92886-6021                       513 MERCURY LN                                           LONG BEACH, CA 90802-3467
                                                  BREA, CA 92821-4831

 RDI - CREDITOR/POC ADDRESS                       RDI - CREDITOR                                           RDI - CREDITOR
 DIANNA ZURBUCHEN TRUSTEE                         DIANNE CONNOR                                            DIEGO CARRANZA
 AKA MITCH'S A/C AND REFRIG                       MARY GUSTAFSON AND JEAN ANN                              420 HOITT ST #3
 ACQUIRED FROM WILLIAM                            GUSTAFSON                                                SAN DIEGO, CA 92102-3153
 ZURBUCHEN                                        27331 HIDDEN TRAIL ROAD
 1254 N CHRISTINE ST                              LAGUNA HILLS, CA 92653-5874
 ORANGE, CA 92869-1200

 RDI - CREDITOR                                   RDI - CREDITOR                                           RDI - CREDITOR
 DIEGO HERNANDEZ                                  DIEGO VINARSKY                                           DILLON SESMA
 23266 ORANGE AVENUE #8                           7337 SHOUP AVENUE                                        9932 BEWERLY LANE
 LAKE FOREST, CA 92630-4855                       WEST HILLS, CA 91307-1737                                GARDEN GROVE, CA 92841-3839

 RDI - CREDITOR                                   RDI - CREDITOR                                           RDI - CREDITOR/POC ADDRESS
 DIMITRA DOIPHODE                                 DIMITRI'S RESTAURANT INC.                                DIMITRIS RESTAURANT PARTNERS
 135 ARDEN                                        RUBY'S DINER TUSTIN                                      LTD
 IRVINE, CA 92620-0295                            OFFICER DIRECTOR MANAGER OR                              DBA RUBY'S TUSTIN, CA 3001
                                                  AGENT                                                    PO BOX 53696
                                                  PO BOX 52230                                             IRVINE, CA 92619-3696
                                                  IRVINE, CA 92619-2230

 RDI - CREDITOR/POC ADDRESS                       RDI - CREDITOR                                           RDI - CREDITOR
 DINGILLO FAMILY TRUST                            DIRK MCNAMEE                                             DISCOUNT MOVERS INC
 C/O DONATO M AND NANCY G                         309 MARIGOLD AVENUE                                      OFFICER DIRECTOR MANAGER OR
 DINGILLO                                         CORONA DEL MAR, CA 92625-3050                            AGENT
 29191 RIDGEVIEW DRIVE                                                                                     2941 N HESPERIAN STREET #8
 LAGUNA NIGUEL, CA 92677                                                                                   SANTA ANA, CA 92706-1109

 RDI - CREDITOR                                   RDI - CREDITOR                                           RDI - CREDITOR
 DJR VENTURES INC                                 DJR VENTURES INC                                         DLS LIVING TRUST
 JAMES SCHAEFFER AND                              RICHARD NEUMANN                                          17042 GILLETTE AVENUE
 RICHARD POWELL                                   1024 E LANCASTER AVENUE                                  IRVINE, CA 92614-5601
 1008 UPPER GULPH ROAD                            ROSEMONT, PA 19010-1409
 SUITE 201
 WAYNE, PA 19087-2700




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 DONAJI BRINDLEY                                  DONALD AND MILDRED BEAVER                                DONALD CASTILLO-OCELOTL
 365 POMELO DRIVE APT F1                          BEAVER FAMILY TRUST                                      811 W GATEWAY DRIVE
 VISTA, CA 92081-6389                             24121 WINDWARD DRIVE                                     PALM SPRINGS, CA 92262-1428
                                                  DANA POINT, CA 92629-4439

 RDI - CREDITOR/INVESTOR                          RDI - CREDITOR/INVESTOR                                  RDI - CREDITOR/POC ADDRESS
 DONALD E. LAVOIE                                 DONALD H. ELLIS                                          DONALD LAVOIE DBA
 20 LYON                                          28412 CALLE MIRA MONTE                                   DEVELOPMETRICS
 NEWPORT COAST CA 92657-1102                      SAN JUAN CAPISTRANO CA 92675                             20 LYON
                                                                                                           NEWPORT COAST, CA 92657-1102

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 RDI - CREDITOR/INVESTOR                          ADDRESS                                                  DONLIN RECANO & COMPANY, INC.
 DONALD R. & MILDRED FAY                          DONATO M. & NANCY G. DINGILLO                            6201 15TH AVENUE
 CHRIS BEAVER                                     29191 RIDGEVIEW DRIVE                                    BROOKLYN NY 11219
 24121 WINDWARD DRIVE                             LAGUNA NIGUEL CA 92677
 MONARCH BEACH CA 92629

 RDI - CREDITOR/INVESTOR                          RDI - CREDITOR                                           RDI - CREDITOR
 DONNA D. ANDREWS                                 DOREE PISANO                                             DOREEN ZARAGOZA
 7156 S. VERBENA WAY                              22435 CAMINITO PACIFICO                                  5656 NORWALK BLVD
 CENTENNIEL CO 80112                              LAGUNA HILLS, CA 92653-1136                              WHITTIER, CA 90601-2532

 RTD 12/29/20 UTF                                 RDI - CREDITOR/POC ADDRESS                               RDI - CREDITOR/POC ADDRESS
 RDI - CREDITOR/INVESTOR                          DOUGLAS L. SALISBURY                                     DOUGLAS S CAVANAUGH
 DOROTHY MCLAUGHLIN                               17042 GILLETTE AVENUE                                    4100 MACARTHUR BLVD
 3 PURSUIT (THE COVINGTON) #                      IRVINE, CA 92614-5601                                    SUITE 310
 241                                                                                                       NEWPORT BEACH, CA 92660-2050
 ALISO VIEJO CA 92650

 RDI - CREDITOR                                   RDI - CREDITOR                                           RDI - CREDITOR
 DREW AND NAPIER LLC                              DUKE LITTLEJOHN                                          DULCE ANGELICA GONZALEZ
 OFFICER DIRECTOR MANAGER                         1002 S TREMONT STREET                                    1415 W NORTH STREET APT 524
 OR AGENT                                         OCEANSIDE, CA 92054-5051                                 ANAHEIM, CA 92801-4319
 10 COLLYER QUAY
 10TH FLOOR OCEAN FINANCIAL
 CENTRE
 SINGAPORE 049315

 RDI - CREDITOR                                   RDI - CREDITOR                                           RDI - CREDITOR - 1019 RDI CH 11
 DYLAN DURHAM                                     DYLAN NARO-JOHNSON                                       DYNAMIC CONCEPTS INC
 8420 DREY ROAD                                   16761 VIEWPOINT LANE #320                                OFFICER DIRECTOR MANAGER OR
 WESTMINSTER, CA 92683-7806                       HUNTINGTON BEACH, CA 92647-4785                          AGENT
                                                                                                           16501 SCIENTIFIC WAY
                                                                                                           IRVINE, CA 92618-4392

 RDI - CREDITOR                                   RTD 07/24/20 UTF                                         RDI - CREDITOR/INVESTOR/POC
 ECOLAB INC                                       RDI - CREDITOR/INVESTOR                                  ADDRESS
 OFFICER DIRECTOR MANAGER                         ED & JOYCE HOROWITZ                                      ED & JOYCE HOROWITZ
 OR AGENT                                         16211 OSBORNE STREET                                     3408 SPARKLER DRIVE
 PO BOX 100512                                    WESTMINSTER CA 92863                                     HUNTINGTON BEACH CA 92649
 PASADENA, CA 91189-0003




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 RTD 08/09/21 RESENT                              NEW ADDR PER USPS                                        RTD 08/09/21 UTF
 RDI - CREDITOR                                   RDI - CREDITOR                                           RDI - CREDITOR
 EDER TORRES                                      EDER TORRES                                              EDGAR RIOS
 16180 AVENUE RAMADA                              68200 33RD AVE APT 180                                   24522 RAYMOND WAY #A
 DESERT HOT SPRINGS, CA                           CATHEDRAL CTY, CA 92234-3986                             LAKE FOREST, CA 92630-4452
 92240-9032

 RDI - CREDITOR                                   RDI - CREDITOR                                           RDI - CREDITOR/POC ADDRESS
 EDGAR RUIZ                                       EDISON FIRE EXTINGUISHER CO INC                          EDISON FIRE PROTECTION INC
 4542 HAWLEY BLVD                                 OFFICER DIRECTOR MANAGER OR                              3621 EAGLE ROCK BLVD
 SAN DIEGO, CA 92116-3401                         AGENT                                                    LOS ANGELES, CA 90065-3622
                                                  3621 EAGLE ROCK BLVD
                                                  LOS ANGELES, CA 90065-3622

 RDI - CREDITOR/INVESTOR                          RDI - CREDITOR                                           RDI - CREDITOR
 EDITH AND LINDA SHIELDS                          EDMOND WESTFALL                                          EDUARDO GUERRERO
 24655 ELIOISA DRIVE                              31 BENTWOOD LANE                                         5950 RANCHO MISSION ROAD UNIT
 MISSION VIEJO CA 92691                           ALISO VIEJO, CA 92656-2918                               175
                                                                                                           SAN DIEGO, CA 92108-2542

 RDI - CREDITOR                                   RTD 08/09/21 UTF                                         RDI - CREDITOR
 EDUARDO MENDOZA                                  RDI - CREDITOR                                           EDWARD AND JOYCE HOROWITZ
 4423 MENLO AVENUE APT 12                         EDUARDO SANCHEZ                                          3408 SPARKLER DRIVE
 SAN DIEGO, CA 92115-4429                         2521 W SUNFLOWER #L5                                     HUNTINGTON BEACH, CA 92649-
                                                  SANTA ANA, CA 92704-7524                                 1924

 RDI - CREDITOR                                   RDI - CREDITOR                                           SEE NEW ADDR 06-24-20
 EDWARD BUSHMAN                                   EDWIN QUIRINO                                            RDI - CREDITOR/INVESTOR
 4564 HAZELNUT AVENUE                             426 AMMANITION ROAD APT 608                              EDYTHE B. PEARCE
 SEAL BEACH, CA 90740-2918                        FALLBROOK, CA 92028-3272                                 3400 WAGNER HEIGHTS ROAD,
                                                                                                           APT. 257
                                                                                                           STOCKTON CA 95209

 RDI - CREDITOR/INVESTOR                          RDI - CREDITOR/INVESTOR/POC                              RDI - CREDITOR
 EILEEN R. BAUMEL                                 ADDRESS                                                  EILISH HAYES
 5287 PINA                                        EILEEN R. BAUMEL                                         5851 BEACH DRIVE #IH117
 LAGUNA WOODS CA 92637                            KAREN PRIESMAN                                           LONG BEACH, CA 90815-4146
                                                  5813 JOHNSON AVENUE
                                                  BETHESDA MD 20817

 RDI - CREDITOR                                   RTD 08/09/21 RESENT                                      NEW ADDR PER USPS
 ELAINA M SCOTT                                   RDI - CREDITOR/INVESTOR/POC                              RDI - CREDITOR/INVESTOR
 29805 AVENIDA LA PAZ #B                          ADDRESS                                                  ELAINE ANN PROKO
 CATHEDRAL CITY, CA 92234-3656                    ELAINE ANN PROKO                                         1208 E DEL MAR AVE
                                                  222 W. BLUEBELL AVENUE                                   ORANGE, CA 92865-3906
                                                  ANAHEIM CA 92802

 RDI - CREDITOR                                   RDI - CREDITOR                                           RDI - CREDITOR
 ELAINE M WESTFALL                                ELEANOR WILLIAMS                                         ELENA PEREZ
 31 BENTWOOD LANE                                 24 ACACIA TREE LANE                                      344 GARFIELD STREET #12
 ALISO VIEJO, CA 92656-2918                       IRVINE, CA 92612-2201                                    OCEANSIDE, CA 92054-3224

 RDI - CREDITOR                                   RDI - CREDITOR                                           RDI - CREDITOR
 ELEONORE TERRIS                                  ELIAS ASTIN                                              ELISA CASTILLO
 1420 CRESTVIEW AVENUE                            812 HUNTINGTON STREET                                    25633 PRESIDENT AVENUE #2
 SEAL BEACH, CA 90740-5722                        HUNTINGTON BEACH, CA 92648-4756                          HARBOR CITY, CA 90710-2639

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 RDI - CREDITOR                                   RDI - CREDITOR                                           RDI - CREDITOR
 ELISHA MONIQUE GUTIERREZ                         ELIZABETH HAMBY                                          ELIZABETH JENSEN
 7222 ALLIANCE COURT                              11650 MATHEWS ROAD                                       4114 VAN DYKE AVENUE
 SAN DIEGO, CA 92119-1522                         BANNING, CA 92220-6903                                   SAN DIEGO, CA 92105-1517

 RDI - CREDITOR                                   RDI - CREDITOR                                           RDI - CREDITOR
 ELIZABETH LUJANO                                 ELIZABETH SZUIC                                          ELLIOT NUNEZ
 5533 ADOBE FALLS RD UNIT #1                      25492 MCINTYRE STREET                                    526 WOOD STREET
 SAN DIEGO, CA 92120-4456                         LAGUNA HILLS, CA 92653-5444                              SANTA ANA, CA 92703-4230

 RTD 08/25/20 UTF                                 RDI - CREDITOR                                           RDI - CREDITOR
 RDI - CREDITOR/INVESTOR/POC                      EMANUEL GARATE                                           EMILIANNA PROCELA
 ADDRESS                                          1235 CAMINITO CITA                                       PO BOX 221
 EMANUEL & JEAN GLASS                             SAN DIEGO, CA 92154-3247                                 BANNING, CA 92220-0002
 36 CAMINO KATIA
 SAN CLEMENTE CA 92672-9420

 RDI - CREDITOR                                   RDI - CREDITOR                                           RDI - CREDITOR
 EMILIANO CHAVEZ                                  EMILIO CORONA                                            EMILY ADRIG
 23266 ORANGE AVENUE #8                           1425 BUSH STREET APT B                                   236 SONOMA AISLE
 LAKE FOREST, CA 92630-4855                       OCEANSIDE, CA 92058-2673                                 IRVINE, CA 92618-3908

 RDI - CREDITOR                                   RDI - CREDITOR                                           RDI - CREDITOR
 EMILY AKINS                                      EMILY KELLEY                                             EMILY M SIFFRIN
 9 BROOKDALE                                      20421 VENUS CIRCLE                                       372 REED AVENUE
 IRVINE, CA 92604-3312                            HUNTINGTON BEACH, CA 92646-4756                          MOJAVE, CA 93501-7174

 RDI - CREDITOR                                   RDI - CREDITOR                                           RDI - CREDITOR
 EMILY M STONER                                   EMILY VALENCIANO                                         EMMA SEXTON
 9341 HYANNIS PORT DRIVE                          236 AMHERST AISLE                                        6111 KELLEY CIRCLE
 HUNTINGTON BEACH, CA 92646-                      IRVINE, CA 92612-4664                                    HUNTINGTON BEACH, CA 92647-
 3513                                                                                                      6420

 SEE NEW ADDR 12/09/20                            RDI - CREDITOR/INVESTOR                                  RDI - CREDITOR/POC ADDRESS
 RDI - CREDITOR/INVESTOR                          EMMY QUINN                                               EMPLOYMENT DEVELOPMENT
 EMMY QUINN                                       27111-A CAPOTE DE PASEO                                  DEPARTMENT
 PO BOX 2                                         SAN JUAN CAPISTRANO, CA 92675-                           BANKRUPTCY GROUP MIC 92E
 SAN JUAN CAPISTRANO CA 92693                     6201                                                     PO BOX 826880
                                                                                                           SACRAMENTO, CA 94280-0001

 RDI - CREDITOR                                   RDI - CREDITOR                                           RDI - CREDITOR
 ENRIQUE GUERRERO                                 ENRIQUE HERNANDEZ CARILLO                                ENVIRONMENTAL PROTECTION
 815 S ORANGE                                     9623 HAZARD AVENUE                                       AGENCY
 SANTA ANA, CA 92701-5847                         GARDEN GROVE, CA 92844-3139                              75 HAWTHORNE STREET
                                                                                                           SAN FRANCISCO, CA 94105-3941

 RDI - CREDITOR                                   RDI - CREDITOR                                           RDI - CREDITOR
 ENVIRONMENTAL PROTECTION                         ERICK TALBOT                                             ERICK V PEREZ
 AGENCY                                           5815 E LA PALMA AVENUE #39                               14525 MANZANILLO STREET
 ARIEL RIOS BUILDING                              ANAHEIM, CA 92807-2242                                   CABAZON, CA 92230-4103
 1200 PENNSYLVANIA AVENUE NW
 WASHINGTON, DC 20460-0001




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 ERIK FIGUEROA                                    ERIK ROMERO                                              ERIKA AGUILAR
 19206 PARTHENIA STREET #3                        6654 ROSE AVENUE                                         12583 JOSEPHINE STREET
 NORTHRIDGE, CA 91324-3676                        LONG BEACH, CA 90805-1659                                GARDEN GROVE, CA 92841-4618

 RDI - CREDITOR                                   RDI - CREDITOR                                           RTD 08/17/21 UTF
 ERNESTO REYES                                    ESMERALDA FONSECA                                        RDI - CREDITOR
 61 BONANZA ROAD                                  350 TALON RIDGE WAY APT 409                              ESTANISLAO BOLANOS
 PALM SPRINGS, CA 92262-1131                      OCEANSIDE, CA 92058-7121                                 317 W 9TH STREET
                                                                                                           LONG BEACH, CA 90813-4213

 NEW ADDR DK 706 06-24-20                         CHANGE OF ADDR 02/08/21                                  NEW ADDR PER 12/09/20 EMAIL
 RDI - CREDITOR/INVESTOR                          RDI - CREDITOR/INVESTOR                                  RDI - CREDITOR/INVESTOR
 ESTATE OF EDYTHE B. PEARCE                       ESTATE OF EMMY QUINN                                     ESTATE OF EMMY QUINN
 C/O DENISE PEARCE, TRUSTEE                       29911 ESPREY COURT                                       29911 OSPREY COURT
 6939 ATLANTA CIRCLE                              TAVARES, FL 32778                                        TAVARES, FL 32778
 STOCKTON, CA 95219

 RTD 08/09/21 UTF                                 RDI - CREDITOR                                           RDI - CREDITOR
 RDI - CREDITOR/INVESTOR/POC                      ESTIBALIS JASMINE JOYA                                   EULALIO RINCON
 ADDRESS                                          13003 JUDITH STREET                                      23145 LOS ALISOS BLVD APT 295
 ESTATE OF EMMY QUINN                             BALDWIN PARK, CA 91706-5840                              MISSION VIEJO, CA 92691-2304
 C/O DAVID MELVOLD
 24 SONRISA
 IRVINE, CA 92620

 RDI - CREDITOR                                   RTD 08/12/21 UTF                                         RDI - CREDITOR
 EUREKA FOOD ENTERPRISES,                         RDI - CREDITOR                                           EVALYNN SUNDARA
 LLC                                              EUSEBIO SALMERON                                         9834 ACACIA AVENUE #A
 STEVEN L. CRAIG                                  1420 SHERYL LANE                                         GARDEN GROVE, CA 92841-7213
 4100 MACARTHUR BLVD.                             NATIONAL CITY, CA 91950-3765
 SUITE 200
 NEWPORT BEACH, CA 92660-2064

 RDI - CREDITOR                                   RDI - CREDITOR/INVESTOR/POC                              RTD 08/16/21 UTF
 EVAN APOLONIO                                    ADDRESS                                                  RDI - CREDITOR
 1653 PANTHER LANE                                EVANGELINE V. PROVOST                                    F&M FOOD SERVICE INC.
 BEAUMONT, CA 92223-5180                          PROVOST FAMILY TRUST                                     JOHN FISHER
                                                  4490 MESA DRIVE, APT. #315 WEST                          550 DEEP VALLEY DRIVE
                                                  OCEANSIDE, CA 92056                                      SUITE 120
                                                                                                           PALOS VERDES PENINSULA, CA
                                                                                                           90274-3664

 RDI - CREDITOR                                   RDI - CREDITOR                                           1019 - RDI - CH 11
 FACILITEC WEST                                   FAMILY TREE PRODUCE                                      FEDERAL EXPRESS
 OFFICER DIRECTOR MANAGER                         OFFICER DIRECTOR MANAGER OR                              OFFICER DIRECTOR MANAGER OR
 OR AGENT                                         AGENT                                                    AGENT
 PO BOX 6008                                      5510 E. LA PALMA AVENUE                                  PO BOX 7221
 SAN PEDRO, CA 90734-6008                         ANAHEIM, CA 92807-2108                                   PASADENA, CA 91109-7321

 RDI - CREDITOR                                   RDI - CREDITOR                                           RDI - CREDITOR
 FEDERAL EXPRESS UT                               FELIPE QUIROZ                                            FELIPE VAZQUEZ PULIDO
 OFFICER DIRECTOR MANAGER                         202 S. BROADWAY                                          12740 BARBARA ANN ST.
 OR AGENT                                         SANTA ANA, CA 92701-5658                                 NORTH HOLLYWOOD, CA 91605-
 PO BOX 7221                                                                                               5040
 PASADENA, CA 91109-7321

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 RDI - CREDITOR                                   RTD 08/16/21 UTF                                         RDI - CREDITOR
 FERNANDO CORTEZ                                  RDI - CREDITOR                                           FERNANDO ZAMORA
 2772 TREAT STREET                                FERNANDO VICTORIA                                        1501 PULS ST.
 SAN DIEGO, CA 92102-2726                         416 W. SAN YSIDRO BLVD.                                  OCEANSIDE, CA 92058-2743
                                                  SAN YSIDRO, CA 92173-2443

 RDI - CREDITOR                                   RDI - CREDITOR                                           RDI - CREDITOR
 FILIBERTO PEREZ                                  FINGAL FAHRNEY & CLARK LLP                               FIRST INSURANCE FUNDING CORP
 1086 STANLEY AVE APT 301                         OFFICER DIRECTOR MANAGER OR                              OFFICER DIRECTOR MANAGER OR
 LONG BEACH, CA 90804-8295                        AGENT                                                    AGENT
                                                  5120 CAMPUS DRIVE                                        PO BOX 7000
                                                  SUITE 200                                                CAROL STREAM, IL 60197-7000
                                                  NEWPORT BEACH, CA 92660-2101

 RDI - CREDITOR                                   RDI - CREDITOR                                           RDI - CREDITOR/INVESTOR/POC
 FISHBOWL INC                                     FLOR DEL ROCIO ESTRADA                                   ADDRESS
 OFFICER DIRECTOR MANAGER                         17141 SHERMAN WAY                                        FLORANNE DUNNING
 OR AGENT                                         VAN NUYS, CA 91406-3618                                  THE RONALD A DUNNAND AND
 DEPT AT 952733                                                                                            FLORANNE
 ATLANTA, GA 31192-0001                                                                                    F DUNNING FAMILY TRUST
                                                                                                           2731 PEBBLE DRIVE
                                                                                                           CORONA DEL MAR, CA 92625-1500

 RDI - CREDITOR                                   RDI - CREDITOR                                           RDI - CREDITOR/INVESTOR
 FLORENCIO LEON MORA                              FLORENCIO SALAZAR                                        FRANCES LAMBERT
 32215 RANCHO VISTA APT 2                         10271 KERN AVE.                                          JACKIE RIEGEL (POA)
 CATHEDRAL CITY, CA 92234                         GARDEN GROVE, CA 92843-5007                              1427 REGATTA ROAD
                                                                                                           LAGUNA BEACH, CA 92651-3029

 RDI - CREDITOR/POC ADDRESS -                     RDI - CREDITOR                                           RDI - CREDITOR/INVESTOR
 1019 - RDI - CH 11                               FRANCHISE TAX BOARD CHIEF                                FRANCIS (FRANK) AND JEAN
 FRANCHISE TAX BOARD                              COUNSEL                                                  O'TOOLE
 BANKRUPTCY SECTION MS A340                       C/O GENERAL COUNSEL SECTION                              10141 OVERHILL DRIVE
 PO BOX 2952                                      PO BOX 1720, MS: A-260                                   SANTA ANA CA 92705
 SACRAMENTO CA 95812-2952                         RANCHO CORDOVA, CA 95741-1720

 RTD 08/09/21 UTF                                 RTD 08/09/21 UTF                                         RDI - CREDITOR
 RDI - CREDITOR                                   RDI - CREDITOR                                           FRANCISCO DOMIN MEDA TOPETE
 FRANCIS CHAPAROSA                                FRANCISCO AGUILAR                                        1150 DYSART DR
 P.O. BOX 828                                     7270 8TH ST #43                                          BANNING, CA 92220-1220
 CABAZON, CA 92230-0828                           BUENA PARK, CA 90621-2236

 RTD 08/09/21 UTF                                 RDI - CREDITOR                                           RDI - CREDITOR
 RDI - CREDITOR                                   FRANCISCO IBARRA                                         FRANCISCO MUNOZ
 FRANCISCO FIGUEROA                               1 PRAIRIE MOUND WAY                                      811 W 19TH STREET UNIT 911
 1164 BRIAN STREET                                SAN DIEGO, CA 92108                                      COSTA MESA, CA 92627-3518
 TUSTIN, CA 92780-8102

 RDI - CREDITOR                                   RDI - CREDITOR                                           RDI - CREDITOR
 FRANCISCO QUINTERO                               FRANCISCO SANCHEZ                                        FRANCISCO VILLA
 890 WEST 15TH ST APT 56B                         712 SHALIMAR DRIVE APT A                                 66444 MISSION LAKES BLVD
 NEWPORT BEACH, CA 92663-6137                     COSTA MESA, CA 92627-4228                                DESERT HOT SPRINGS, CA 92240-
                                                                                                           1922




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 FRANK AND RENE PIAZZA                            ADDRESS                                                  FRANK DICHANO
 23842 LINNET CIRCLE                              FRANK AND SHIRLEY FELLER                                 7410 OWENSMOUTH AVE.
 LAGUNA NIGUEL CA 92677                           1712 PALOMA DRIVE                                        CANOGA PARK, CA 91303-1333
                                                  NEWPORT BEACH CA 92660

 RDI - CREDITOR                                   RDI - CREDITOR                                           RDI - CREDITOR
 FRANKLIN MACHINE PRODUCTS                        FRANKY PEREZ                                             FREDDY GARCIA
 OFFICER DIRECTOR MANAGER                         14615 SATICOY ST #32                                     310 E PHILADELPHIA APT E-34
 OR AGENT                                         VAN NUYS, CA 91405-1392                                  ONTARIO, CA 91761-5349
 PO BOX 8500
 PHILADELPHIA, PA 19178-8500

 1019 - RDI - CH 11                               RDI - CREDITOR                                           RTD 08/12/21 UTF
 G & G BOOKKEEPING, INC.                          GABRIEL AMAYA                                            RDI - CREDITOR
 OFFICER DIRECTOR MANAGER                         13910 TAFT STREET # 1                                    GABRIELA NICOLE EDMISTON
 OR AGENT                                         GARDEN GROVE, CA 92843-3375                              8824 E. BANNER RIDGE DR.
 19602 COUNTRY LAKE DR                                                                                     ANAHEIM, CA 92808-1686
 MAGNOLIA, TX 77355

 RTD 08/09/21 UTF                                 RDI - CREDITOR                                           RDI - CREDITOR
 RDI - CREDITOR                                   GANDHI PEREZ                                             GARRETT MOORE
 GAIL VALKIS                                      4444 ALABAMA ST. #4                                      57 WILDWOOD
 P.O. BOX 1008                                    SAN DIEGO, CA 92116-4131                                 IRVINE, CA 92604-3359
 CABAZON, CA 92230-1008

 RDI - CREDITOR/INVESTOR/POC                      RDI - CREDITOR/INVESTOR/POC                              RDI - CREDITOR/POC ADDRESS
 ADDRESS                                          ADDRESS                                                  GARY A. WALDRON
 GARY & JUDITH COX                                GARY & SHIRLEY ALLEN                                     1096 FLAMINGO ROAD
 8141 REDFORD LANE                                20962 BARCLAY LANE                                       LAGUNA BEACH, CA 92651-2804
 LA PALMA CA 90623                                LAKE FOREST CA 92630

 RDI - CREDITOR/INVESTOR                          RTD 08/09/21 UTF                                         RDI - CREDITOR
 GARY MOATES                                      RDI - CREDITOR                                           GENE PHELPS DBA US AIR
 MARIA SUZETTE L. MOATES, THE                     GARY WALDON                                              CONDITIONING
 MOATES TRUST                                     23 CORPORATE PLAZA DRIVE                                 OFFICER DIRECTOR MANAGER OR
 318 17TH STREET                                  #200                                                     AGENT
 SEAL BEACH CA 90740                              NEWPORT BEACH, CA 92660-7922                             4517 BIRCHWOOD AVENUE
                                                                                                           SEAL BEACH, CA 90740-3112

 RDI - CREDITOR                                   RDI - CREDITOR/INVESTOR/POC                              RDI - CREDITOR
 GENEVIEVE ESCALANTE                              ADDRESS                                                  GEORGE ALEXANDER
 1 CARLINA                                        GEOFF & KIM MALONEY                                      258 THE SHOPS AT MISSION VIEJO
 IRVINE, CA 92620-1825                            713 JASMINE AVENUE                                       MISSION VIEJO, CA 92691-6505
                                                  CORONA DEL MAR CA 92625

 RDI - CREDITOR/INVESTOR                          RTD 08/09/21 UTF                                         RDI - CREDITOR/INVESTOR/POC
 GEORGE F. & LAURETTA PEARCE                      RDI - CREDITOR/INVESTOR                                  ADDRESS
 13410 ST. ANDREWS DRIVE 70F                      GEORGIE E. BORLAND                                       GERALD L. & DIANE A. LENNING
 SEAL BEACH CA 90740                              33601 BRIGANTINE DRIVE                                   13924 SEAL BEACH BLVD., SUITE C
                                                  DANA POINT CA 92629                                      SEAL BEACH CA 90740




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 RDI - CREDITOR                                   RDI - CREDITOR                                           RTD 11/18/20 UTF
 GERALD T GOSTANIAN MD INC                        GIFFIN CLARK                                             RDI - CREDITOR/INVESTOR
 OFFICER DIRECTOR MANAGER                         817 FRANKFORT                                            GILBERT & MAUREEN MCCUTCHAN
 OR AGENT                                         HUNTINGTON BEACH, CA 92648-4904                          459 VISTA ROMA
 400 NEWPORT CENTER DRIVE                                                                                  NEWPORT BEACH CA 92660
 SUITE 202A
 NEWPORT BEACH, CA 92660-7680

 RDI - CREDITOR/INVESTOR/POC                      RDI - CREDITOR                                           RTD 08/03/20 UTF
 ADDRESS                                          GILBERT AND MAUREEN MCCUTCHAN                            RDI - CREDITOR/INVESTOR
 GILBERT AND MAUREEN                              400 NEWPORT CENTER DRRIVE                                GILBERT AND NORMA STROTHER
 MCCUTCHAN                                        SUITE 202A                                               32831 LEAH DRIVE
 MCCUTCHAN FAMILY TRUST                           NEWPORT BEACH, CA 92660-7680                             DANA POINT CA 92629
 REGENTS POINT #335
 1919 HARVARD AVE
 IRVINE, CA 92612

 RDI - CREDITOR                                   RDI - CREDITOR                                           RDI - CREDITOR/INVESTOR
 GILBERTO ANGEL                                   GINA MARIA STEELE                                        GISELA BERTYSCH C/O V. BURT
 3434 MONROE ST. APT. 1                           6555 E. EDINBORO CIRCLE                                  3935 HOLLYLINE AVENUE
 CARLSBAD, CA 92008-2052                          ANAHEIM, CA 92807-5009                                   SHERMAN OAKS CA 91423

 RDI - CREDITOR                                   1019 - RDI - CH 11                                       RDI - CREDITOR/INVESTOR/POC
 GLADYS SALMONSONS                                GLASSRATNER ADVISORY & CAPITAL                           ADDRESS
 301 WEST ALPINE                                  GROUP IN                                                 GLP FAMILY TRUST DATED
 SANTA ANA, CA 92707-4309                         OFFICER, DIRECTOR, MANAGER,                              12/18/1990
                                                  AGENT                                                    LAURETTA M. PEARCE
                                                  3445 PEACHTREE ROAD                                      13410 ST. ANDREWS DRIVE, #70F
                                                  SUITE 1225                                               SEAL BEACH, CA 90740
                                                  ATLANTA, GA 30326-3241

 RDI - CREDITOR                                   RDI - CREDITOR/POC ADDRESS                               RDI - CREDITOR
 GONZALO FELIX                                    GONZALO LOPEZ                                            GRACE GERL
 463 N. 3RD ST.                                   6951 HOMER ST #13                                        3621 HALBRITE AVE.
 BANNING, CA 92220-4642                           WESTMINSTER, CA 92683                                    LONG BEACH, CA 90808-3320

 RTD 08/09/21 UTF                                 RDI - CREDITOR                                           RDI - CREDITOR
 RDI - CREDITOR                                   GRANT CORBETT                                            GREENBURG TRAURIG LLP
 GRACE MARIE CHEN                                 1896 PARKVIEW CIRCLE                                     OFFICER DIRECTOR MANAGER OR
 5601 E ORANGETHORPE AVE APT                      COSTA MESA, CA 92627-4537                                AGENT
 M204                                                                                                      3161 MICHELSON DR
 ANAHEIM, CA 92807-3325                                                                                    SUITE 1000
                                                                                                           IRVINE, CA 92612-4410

 RDI - CREDITOR/POC ADDRESS                       RDI - CREDITOR/POC ADDRESS                               RDI - CREDITOR
 GREG CAHILL                                      GREGORY CARL POMMERENK                                   GRIT DEVELOPMENT LLC
 213 ATLANTA AVE APT B                            1978 CEDAR AVENUE                                        JEANETTE LEWIS MANAGER
 HUNTINGTON BEACH, CA 92648-                      LONG BEACH, CA 90806-5389                                201 N PALM CANYON
 5368                                                                                                      SUITE 200
                                                                                                           PALM SPRINGS, CA 92262-5559




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 GUADALUPE CANTOR                                 GUADALUPE MOYOTL                                         RDI - CREDITOR
 271 N. WATEKA ST.                                68275 ESTIO RD.                                          GUARDIAN INSUANCE AND
 SAN JACINTO, CA 92583-2645                       CATHEDRAL CITY, CA 92234-5663                            ANNUITY
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                                                  DANA POINT CA 92629

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 OR AGENT                                         4414 PARK MALLORC                                        AGENT
 30141 HILLSIDE TERRACE                           CALABASAS, CA 91302-1770                                 8860 APOLLO WAY
 SAN JUAN CAPISTRANO, CA                                                                                   SUITE 320
 92675                                                                                                     DOWNEY, CA 90242-4043

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 VISTA, CA 92081-8733                             IRVINE, CA 92614-5301                                    124 CINNAMON TEAL
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 OR AGENT                                         AGENT                                                    SAN DIEGO, CA 92115-3931
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                                                  VAN NUYS, CA 91406-2409




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                                                  TUSTIN, CA 92780-4809

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 LONG BEACH, CA 90813-1606                                                                                 10109 WHITTWOOD DRIVE
                                                                                                           WHITTIER, CA 90603-2314

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 MARY AND JAMES MCKENNON                          RDI - CREDITOR/INVESTOR                                  RDI - CREDITOR/INVESTOR/POC
 303 ESPLANADE                                    MARY B GARVER                                            ADDRESS
 NEWPORT BEACH, CA 92660-3924                     MARY B. GARVER SURVIVOR'S TRUST                          MARY B GARVER
                                                  CREATED UNDER THE GARVER LIV                             MARY B. GARVER SURVIVOR'S
                                                  TRUST                                                    TRUST
                                                  6076 EAGLECREST DRIVE                                    CREATED UNDER THE GARVER LIV
                                                  HUNTINGTON BEACH, CA 92648-5546                          TRUST
                                                                                                           40 PASARELA DRIVE #201
                                                                                                           RANCHO MISSION VIEJO, CA 92694

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 RDI - CREDITOR/INVESTOR                          ADDRESS                                                  RDI - CREDITOR/INVESTOR
 MARY GARVER                                      MARY GLENANE                                             MARY GUSTAFSON
 6076 EAGLECREST DRIVE                            2310 VIA PUERTA UNIT B                                   33925 MANTA CT.
 HUNTINGTON BEACH CA 92648-                       LAGUNA WOODS, CA 92637                                   MONARCH BEACH CA 92629-4532
 5546

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 MARY JORDAN                                      MARY MCKENNON                                            RDI - CREDITOR/INVESTOR
 1114 DELAWARE ST. #B                             303 ESPLANADA                                            MARYANN MEADE (REEL)
 HUNTINGTON BEACH, CA 92648-                      NEWPORT BEACH CA 92660                                   22872 CAMERONA ROAD
 4172                                                                                                      LAGUNA NIGUEL CA 92677

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 MARYSOL NAJERA                                   MASHA ALEXANDROVNA                                       RDI - CREDITOR/INVESTOR
 231 E. HULLETT STREET                            BOLKHOVITINOVA                                           MASON & PRESTON DONAHUE
 LONG BEACH, CA 90805-3421                        6502 MELBOURNE DRIVE                                     3 VIA MARIN
                                                  HUNTINGTON BEACH, CA 92647-2607                          SAN CLEMENTE CA 92673

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 MASON DONAHOE                                    MASTON WOOTEN                                            RDI - CREDITOR
 C/O TRACI DONAHOE                                4842 KING CIRCLE #A                                      MATT MENDEZ
 3 VIA MARIN                                      HUNTINGTON BEACH, CA 92649-4343                          9543 EL REY AVENUE, APT. 9
 SAN CLEMENTE, CA 92673-6717                                                                               FOUNTAIN VALLEY, CA 92708-4641

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 MATTHEW DAVISSON                                 MATTHEW GREGG                                            MATTHEW H FLEMING
 25142 LINDA VISTA DRIVE                          28926 PASEO THERESA                                      1760 2ND STREET
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 MATTHEW PATRICK NALTY                            MATTHEW WEBBER                                           MAURICIO E. SAM
 9451 PORTSMOUTH DRIVE                            1760 NORTH OAK KNOLL DRIVE, #D                           WEST CALLE PRIMERA APT 1
 HUNTINGTON BEACH, CA 92646-                      ANAHEIM, CA 92807-1351                                   SAN YSIDRO, CA 92173
 3539

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 MAURICIO G FERNANDEZ                             MAXIMILIANO FRAUSTO                                      MAXIMINO CORREA SANCHEZ
 69 N. 4TH STREET                                 821 OLIVER AVENUE #1                                     501 E. KATELLA AVENUE #10A
 BANNING, CA 92220-4709                           LONG BEACH, CA 90813-4643                                ORANGE, CA 92867-4910

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 MAYKO ARJON TRUJILLO                             MAYO CLINIC                                              1019 - RDI - CH 11
 1657 251 ST APT B                                OFFICER DIRECTOR MANAGER OR                              MCCONNELL DUNNING & BARWICK
 HARBOR CITY, CA 90710-4118                       AGENT                                                    LLP
                                                  4500 SAN PABLO ROAD                                      OFFICER DIRECTOR MANAGER OR
                                                  JACKSONVILLE, FL 32224-1865                              AGENT
                                                                                                           9960 RESEARCH DR
                                                                                                           SUITE 100
                                                                                                           IRVINE, CA 92618-4322

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 MEAGAN DANG                                      MEGAN BURLEY                                             RDI - CREDITOR
 13192 CORTINA                                    12801 BARTLETT STREET                                    MEGAN FRYE
 TUSTIN, CA 92782-8731                            GARDEN GROVE, CA 92845-2322                              412 OLIVE AVE. #323
                                                                                                           GARDEN GROVE, CA 92846

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 1811 PORTOFINO DR.                               13652 BOWEN ST.                                          1145 HELIX STREET APT 4
 OCEANSIDE, CA 92054-6129                         GARDEN GROVE, CA 92843-3206                              SPRING VALLEY, CA 91977-4038

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 MELISSA N., BELIOVSKY                            2202 HESS CIRCLE #7                                      1145 HELIX STREET #4
 4356 JOSIE AVENUE                                HUNTINGTON BEACH, CA 92648-5908                          SPRING VALLEY, CA 91977-4038
 LAKEWOOD, CA 90713-2730

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 MELQUIEDEZ YANEZ                                 ADDRESS                                                  MERIDETH WIBERG
 2852 IVON ST.                                    MELVIN AND JEAN KELEMAN                                  5959 NAPLES PLAZA, #307
 OCEANSIDE, CA 92056                              5500 PASEO DEL LAGO W. #3E                               LONG BEACH CA 90803
                                                  LAGUNA WOODS CA 92637-2665

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 METLIFE GROUP BENEFITS                           MGP FUND X LAGUNA HILLS LLC                              MIA K GOMEZ
 OFFICER DIRECTOR MANAGER                         MANAGER, MEMBER, AGENT                                   203 MURICA AISLE
 OR AGENT                                         425 CALIFORNIA STREET                                    IRVINE, CA 92614-0261
 PO BOX 804466                                    10TH FLOOR
 KANSAS CITY, MO 64180-4466                       SAN FRANCISCO, CA 94104-2102




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 RDI - CREDITOR                                   RDI - CREDITOR                                           MICHAEL & JENNELL MCKINZIE
 MICHAEL & CANDACE O'BRIEN                        MICHAEL & CANDACE O'BRIEN                                888 SUMMIT DRIVE
 THE O'BRIEN TRUST                                THE O'BRIEN TRUST                                        LAGUNA BEACH CA 92651
 13600 MARINA POINTE DRIVE                        321 COMPASS ROSE DRIVE
 #1702                                            DAYTONA BEACH, FL 32124
 MARINA DEL REY, CA 90292-9254

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 MICHAEL AND JENNELL MCKINZIE                     MICHAEL BLACK                                            MICHAEL MCDERMOTT
 1340 REYNOLDS AVENUE                             9452 MILLERGROVE DR.                                     1435 E. 7TH STREET APT F
 SUITE 116-285                                    SANTA FE SPRINGS, CA 90670-2741                          LONG BEACH, CA 90813-4948
 IRVINE, CA 92614-5551

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 1340 REYNOLDS AVE 116-285                        SAN DIEGO, CA 92120-5316                                 CORONA DEL MAR, CA 92625-1918
 IRVINE, CA 92614

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 MICHAEL ROBERT WILSON                            MICHAEL WILSON                                           MICHAEL WILSON CONSTRUCTION
 DBA WILSON CONSTRUCTION                          C/O R. GIBSON PAGTER, JR.                                14302 YORBA STREET
 14302 YORBA STREET                               PAGTER AND PERRY ISAACSON                                TUSTIN, CA 92780
 TUSTIN, CA 92780-2351                            525 N. CABRILLO PARK DRIVE, SUITE
                                                  104
                                                  SANTA ANA, CA 92701-5017

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 MICHAEL YARNALL                                  MICHAEL YOUSIFF                                          MICHEALA BUBENIK
 954 FERNDALE DRIVE                               10109 WHITTWOOD DIVE                                     1935 LAKE ST.
 CORONA, CA 92881-8752                            WHITTIER, CA 90603-2314                                  HUNTINGTON BEACH, CA 92648-
                                                                                                           2806

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 416 HAMILTON ST #B                               470 JAMACHA RD. #N                                       2609 W ST. ANDREW PL
 COSTA MESA, CA 92627-9501                        EL CAJON, CA 92019-2436                                  SANTA ANA, CA 92704-4060

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 4648 N. FIRCROFT                                 1213 W. ALTON AVE                                        15500 TUSTIN VILLAGE WAY #107
 COVINA, CA 91722-2712                            SANTA ANA, CA 92707-3871                                 TUSTIN, CA 92780-4283

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                                                                                                           COSTA MESA, CA 92627-3595

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 MIGUEL TRINIDAD                                  MIKAYLA DOLORES REILLY                                   ADDRESS
 555 CHERRY AVE. #4                               10252 ARUNDEL AVE.                                       MIKE AND INA PETOKAS
 LONG BEACH, CA 90802-2043                        WESTMINSTER, CA 92683-5833                               1800 PORT SEABOURNE WAY
                                                                                                           NEWPORT BEACH CA 92660


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 MILDRED G. KOSMIDES                              MINUTEMAN INDUSTRIES INC                                 MIRANDA JAVIER SALGADO
 33296 OCEAN RIDGE                                OFFICER DIRECTOR MANAGER OR                              111 W. MACARTHUR MANOR
 DANA POINT CA 92629                              AGENT                                                    ANAHEIM, CA 92805-4610
                                                  PO BOX 4983
                                                  GARDEN GROVE, CA 92842-4983

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 1158 S POSITANO                                  MIREYA SANDOVAL                                          MIREYA SANDOVAL
 ANAHEIM, CA 92808-1539                           1209 OLIVE AVE                                           331 E MARKER LN
                                                  LONG BEACH, CA 90813-3522                                LONG BEACH CA 90805-1320

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 901 EL REY AVE. #12                              CYPRESS, CA 90630-5019                                   3495 SPECTRUM
 FOUNTAIN VALLEY, CA 92708                                                                                 IRVINE, CA 92618-3376

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 8876 OVIEDA PL                                   OFFICER, DIRECTOR, MANAGER,                              1596 S.E. SKYLINE DRIVE
 WESTMINSTER, CA 92683-5426                       AGENT                                                    SANTA ANA CA 92705
                                                  4802 LITTLE JOHN STREET
                                                  BALDWIN PARK, CA 91706-2208

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 MOIRA G. O'TOOLE TRUST                           2028 S. HALLADAY                                         15150 MAGNOLIA APT #296
 9736 WILLOW GLENN CIRCLE                         SANTA ANA, CA 92707-2904                                 WESTMINSTER, CA 92683-6443
 SANTA ANA, CA 92705-6104

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 669 S. TWIN OAKS VALLEY RD.                      OCEANSIDE, CA 92054-4283                                 SANTA MONICA, CA 90401-3513
 SAN MARCOS, CA 92078-5398

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 MONICA A. PEREZ                                  MONICA DEL TORO                                          MONIQUE BONILLA
 5000 N WILLAMETTE BLVD                           146 N 4TH ST.                                            5428 CARFAX AVE.
 HAGGERTY HALL R12                                BANNING, CA 92220-4712                                   LAKEWOOD, CA 90713-1641
 PORTLAND, OR 97203-5743

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 MOONGO BAND OF MISSION                           MORGAN R. SWADE                                          MORONGO BAND OF MISSION
 INDIANS                                          1000 ST. BIMINI CIRCLE                                   INDIANS
 OFFICER, DIRECTOR, MANAGER,                      PALM SPRINGS, CA 92264-8553                              ATTN. COUNSEL
 MEMBER                                                                                                    49500 SEMINOLE DR
 12700 PUMMARRA ROAD                                                                                       CABAZON, CA 92230-2202
 BANNING, CA 92220-6977




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 MORRISSEY PRINTING CO INC                        MORT AND PATTY MEMORIAL FUND                             RDI - CREDITOR/INVESTOR
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 5480 KATELLA AVE STE 200                         DONNA D ANDREWS                                          13502 ERWIN STREET
 LOS ALAMITOS, CA 90720-6824                      7156 S VERBENA WAY                                       VAN NUYS CA 91401-3036
                                                  CENTENNIAL, CO 80112-1869

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 MURRAY GLASS FAMILY TRUST                        MYRON MILLER                                             116-C SO. GUADALUPE AVENUE
 DATED AUGUST 19,1999                             33926 MANTA COURT                                        REDONDO BEACH CA 90277
 C/O FRED GLASS, TRUSTEE OF                       MONARCH BEACH CA 92629
 MURRAY GLASS
 643 SAN FERNANDO AVENUE
 BERKELEY, CA 94707

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 6562 SABBICAS CIRCLE                             529 W CHAPMAN AVE.                                       525 PALM ST. #32
 HUNTINGTON BEACH CA 92647                        PLACENTIA, CA 92870-5702                                 BEAUMONT, CA 92223-2366

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 NATALIE DINH                                     NATALIE VAN NYHUIS                                       NATIONAL PIZZA RESTAURANTS,
 1040 S PINE CANYON CIR                           16162 SHER LANE #18                                      INC.
 ANAHEIM, CA 92807-5032                           HUNTINGTON BEACH, CA 92647-4124                          CHRISTOPHER PAPPAS, HARRIS
                                                                                                           PAPPAS
                                                                                                           13939 NORTHWEST FRWY.
                                                                                                           HOUSTON, TX 77040-5115

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 INC.                                             SANTA ANA, CA 92706-2001                                 CANOGA PARK, CA 91306-3712
 CHRISTOPHER PAPPAS, HARRIS
 PAPPAS
 645 HEIGHTS
 HOUSTON, TX 77007-2893

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 26571 NORMANDALE DR APT 13F                      684 BARBERRY WAY                                         OFFICER DIRECTOR MANAGER OR
 LAKE FOREST, CA 92630-6764                       NIPOMO, CA 93444-9354                                    AGENT
                                                                                                           PO BOX 129
                                                                                                           CONCORDVILLE, PA 19331-0128

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 NEWPORT BEACH MEDICAL                            NEWPORT PEDIATRIC DENTISTRY                              NEXTIVA INC
 OFFICER DIRECTOR MANAGER                         OFFICER DIRECTOR MANAGER OR                              OFFICER DIRECTOR MANAGER OR
 OR AGENT                                         AGENT                                                    AGENT
 PO BOX 3579                                      2131 WESTCLIFF DRIVE                                     880 E CHAPARRAL ROAD
 NEWPORT BEACH, CA 92659-8579                     SUITE 210                                                SUITE 300
                                                  NEWPORT BEACH, CA 92660-5545                             SCOTTSDALE, AZ 85250




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 NICHOLAS ANTHONY USLANDER                        NICHOLAS CHAPMAN                                         NICHOLAS O. PROFETA
 5538B VIA LA MESA                                7760 DOHENY CT.                                          20431 MANSARD LANE
 LAGUNA WOODS, CA 92637-5606                      ANAHEIM, CA 92808-2100                                   HUNTINGTON BEACH, CA 92646-
                                                                                                           5138

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 2042 CLARK AVENUE                                SUHAIL HASHIM                                            25456 SAWMILL LANE
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                                                  TORRANCE, CA 90505-7238

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 19 LEXINGTON LN                                  14972 PIPER CIRCLE                                       8801 ELGIN CR
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                                                                                                           2213

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 27001 MORO AZUL                                  NIKKI NEEL                                               29981 HAWKHILL RD
 MISSION VIEJO, CA 92691-6038                     1950 E 16TH STREET                                       VISTA, CA 92084-1323
                                                  NEWPORT BEACH, CA 92663-5915

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 NOE JIMENEZ                                      NOEL DOUBEK                                              NOELLE KEKACS
 518 SOUTH FLOWER #B                              73 CORONADO CAY LANE                                     3312 HARDWICK ST.
 SANTA ANA, CA 92703-3943                         ALISO VIEJO, CA 92656-6064                               LAKEWOOD, CA 90712-2205

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 NOEMI CISNEROS                                   NORMA RINCON                                             RDI - CREDITOR
 13567 MOUNTAIN TOP DR                            22482 ALMA ALDEA #7                                      NORMA STROTHER
 DESERT HOT SPRINGS, CA                           RANCHO SANTA MARGARITA, CA                               STROTHER FAMILY TRUST
 92240-6537                                       92688-2832                                               301 NORTH 1ST STREET
                                                                                                           COEUR D ALENE, ID 83814-2852

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 RDI - CREDITOR                                   NUCO2 LLC                                                OCTAVIO GARCIA
 NOTE HOLDERS GROUP                               2800 SE MARKET PLACE                                     16167 VIA MONTANA
                                                  STUART FL 34997-4965                                     DESERT HOT SPRINGS, CA 92240-
                                                                                                           7218

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 ODESSA M. CURTIS                                 OFFICE OF THE ATTORNEY GENERAL                           RDI - CREDITOR - 1019 RDI CH 11
 858 VINE ST. APT. #17                            CALIFORNIA DEPT. OF JUSTICE                              OFFICER DIRECTOR MANAGER OR
 OCEANSIDE, CA 92054-4283                         ATTN. PUBLIC INQUIRY UNIT                                AGENT
                                                  PO BOX 944255                                            DONLIN RECANO & COMPANY, INC.
                                                  SACRAMENTO, CA 94244-2550                                48 WALL STREET
                                                                                                           NEW YORK, NY 10005

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 OLEYVO NUNEZ                                     OLGA JIMENEZ                                             OLGA RIOS
 526 WOOD STREET                                  30306 AVENIDA DEL YERMO                                  900 N. CHERRY ST.
 SANTA ANA, CA 92703-4230                         CATHEDRAL CITY, CA 92234-2811                            BANNING, CA 92220-2712




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 OLIVIA EDIT                                      ADDRESS                                                  OMAR BUENO
 2 KING EIDER LANE                                OLSEN FAMILY TRUST                                       1242 ORANGE AVE.
 ALISO VIEJO, CA 92656-1816                       RONALD A AND BOBBIE OLSEN                                SANTA ANA, CA 92707-1322
                                                  1520 NORTHWOOD RD APT 244E
                                                  SEAL BEACH, CA 90740

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 OMAR OSORIO                                      313 E PINE STREET APT 14                                 ONEIL LLP
 23424 VIA SAN PABLO                              SANTA ANA, CA 92701-5980                                 PARTNER, MANAGER, AGENT
 ALISO VIEJO, CA 92656-1146                                                                                19900 MACARTHUR BLVD
                                                                                                           SUITE 1000
                                                                                                           LOS ANGELES, CA 90067-1623

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 OPTIMAL BIO FUELS INC                            OPUS BANK                                                ORANGE COUNTY FIRE
 2300 MAIN ST STE 3                               19900 MACARTHUR BLVD, 12TH                               AUTHORITY
 IRVINE, CA 92614-6223                            FLOOR                                                    ACCOUNTS RECEIVABLE
                                                  IRVINE, CA 92612                                         PO BOX 51985
                                                                                                           IRVINE, CA 92619-1985

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 OR AGENT                                         867 W. 19TH ST. #18                                      CABAZON, CA 92230-3314
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 TRUST                                            LOS ANGELES, CA 90025-7319                               AGENT OF SERVICE FOR LONG
 16642 W WINDSOR AVENUE                                                                                    BEACH
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 OR AGENT                                                                                                  80 BRIDGE STREET
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 OR AGENT                                         AGENT                                                    6997 JURUPA AVE
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 OR AGENT                                         1624 E CARSON STREET                                     25930 ROLLING HILLS ROAD
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 OR AGENT                                         BARBARA QUICK, TRUSTEE                                   CALL
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                                                  DALLAS, TX 75373-1214                                    SUITE B
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                                                  17835 SKY PARK CIRCLE                                    6029
                                                  SUITE M
                                                  IRVINE, CA 92614-6106

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 33 HIGHCREST LANE                                470 JOOST AVE                                            3670 43RD ST #1
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 92240-4909

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 639 VIA COSTA RICA                               HUNTINGTON BEACH CA 92649                                7039 ISLAND VILLAGE DR
 VISTA CA 92081                                                                                            LONG BEACH, CA 90803

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 8132 KINER DRIVE                                 24216 GRAYSTON DRIVE                                     27040 JEAN TERRACE
 HUNTINGTON BEACH, CA 92646-                      LAKE FOREST, CA 92630-4416                               LAGUNA NIGUEL, CA 92677-3554
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 DANA POINT, CA 92629-4522                        DESERT HOT SPRINGS, CA 92240-                            DBA RUBY'S DINER INC
                                                  3686                                                     OFFICER DIRECTOR MANAGER OR
                                                                                                           AGENT
                                                                                                           9305 ROBNEL PLACE
                                                                                                           VIENNA, VA 22182-1661

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 DBA RUBY'S DINER INC                             668 N. COAST HIGHWAY # 216                               ROY F. AND JANET L. DOHNER
 OFFICER DIRECTOR MANAGER                         LAGUNA BEACH CA 92651                                    33711 BRIGANTINE DR.
 OR AGENT                                                                                                  DANA POINT CA 92629
 9305 ROBNEL PLACE
 VIENNA, VA 22182-1661

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 19031 GRAND AVE                                  GOMEZ                                                    4458 SUNFLOWER WAY
 LAKE ELSINORE, CA 92530-6262                     6217 W. 83RD. PLACE                                      CHINO, CA 91710-5036
                                                  WESTCHESTER CA 90045-3912

 RDI - CREDITOR                                   RDI - CREDITOR                                           RDI - CREDITOR/POC ADDRESS
 RUBY DESIMONE                                    RUBY'S BEACH VENTURES LLC                                RUBYS BEACH VENTURES, LLC
 3126 LADOGA AVE                                  OFFICER DIRECTOR MANAGER OR                              1096 FLAMINGO ROAD
 LONG BEACH, CA 90808-4018                        AGENT                                                    LAGUNA BEACH, CA 92651-2804
                                                  4100 MACARTHUR BLVD.
                                                  SUITE 310
                                                  NEWPORT BEACH, CA 92660-2050

 RDI - CREDITOR                                   RTD 08/16/21 RESENT                                      NEW ADDR PER USPS
 RUBY'S DINER LAGUNA BEACH                        RDI - CREDITOR                                           RDI - CREDITOR
 30622 S. COAST HIGHWAY                           RUBY'S DINER SOUTH COAST PLAZA,                          RUBY'S DINER SOUTH COAST
 LAGUNA BEACH, CA 92651-4240                      LP                                                       PLAZA, LP
                                                  PARTNER                                                  32565 GOLDEN LANTERN ST STE B
                                                  4100 MACARTHUR BLVD.                                     1025
                                                  SUITE 310                                                DANA POINT CA 92629-3261
                                                  NEWPORT BEACH, CA 92660-2050

 RTD 08/16/21 RESENT                              NEW ADDR PER USPS                                        NEW ADDR PER USPS
 RDI - CREDITOR                                   RDI - CREDITOR                                           1019 - RDI - CH 11
 RUBY'S FRANCHISE SYSTEMS,                        RUBY'S FRANCHISE SYSTEMS, INC.                           RUBY'S FRANCHISE SYSTEMS, INC.
 INC.                                             32565 GOLDEN LANTERN ST STE B                            32565 GOLDEN LANTERN ST STE B
 4100 MACARTHUR BLVD.                             1025                                                     1025
 SUITE 310                                        DANA POINT CA 92629-3261                                 DANA POINT CA 92629-3261
 NEWPORT BEACH, CA 92660-2050




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 RDI - CREDITOR/POC ADDRESS                       RTD 08/16/21                                             RTD 08/16/21 RESENT
 RUBY'S FRANCHISE SYSTEMS,                        1019 - RDI - CH 11                                       RDI - CREDITOR
 INC., BANKRUPTCY ESTATE OF                       RUBYS FRANCHISE SYSTEMS.INC                              RUBY'S HUNTINGTON BEACH LTD
 CHRISTOPHER CELENTINO,                           4100 MACARTHUR BLVD.                                     GENERAL PARTNER/LIMITED
 DISNMORE & SHOHL LLP                             SUITE 310                                                PARTNER
 655 W BROADWAY, SUITE 800                        NEWPORT BEACH, CA 92660-2050                             4100 MACARTHUR BLVD
 SAN DIEGO, CA 92101                                                                                       SUITE 310
                                                                                                           NEWPORT BEACH, CA 92660-2050

 MAIL REDIRECTED TO TRUSTEE                       RTD 08/09/21 UTF                                         RTD 08/12/21 UTF
 RDI - CREDITOR                                   RDI - CREDITOR                                           RDI - CREDITOR
 RUBY'S HUNTINGTON BEACH                          RUBY'S HUNTINGTON BEACH, LTD.                            RUBY'S LAGUNA HILLS LTD
 LTD.                                             OFFICER, DIRECTOR, MANAGER,                              GENERAL PARTNER/LIMITED
 32656 GOLDEN LANTERN ST STE                      AGENT                                                    PARTNER
 B                                                1 MAIN STREET                                            4100 MACARTHUR BLVD
 1025                                             HUNTINGTON BEACH, CA 92648-8193                          SUITE 310
 DANA POINT CA 92629-3261                                                                                  NEWPORT BEACH, CA 92660-2050

 RTD 08/18/21 UTF                                 RTD 08/09/21 UTF                                         RDI - CREDITOR
 RDI - CREDITOR                                   RDI - CREDITOR                                           RUBY'S MV INC
 RUBY'S MANAGEMENT LLC                            RUBY'S MISSION VALLEY LTD                                GEORGE ALEXANDER AND J
 DOUGLAS S CAVANAUGH                              GENERAL PARTNER/LIMITED                                  BRADY GRECO
 4100 MACARTHUR BLVD.                             PARTNER                                                  19312 SANT JUDE DRIVE
 SUITE 310                                        4100 MACARTHUR BLVD                                      SANTA ANA, CA 92705-6307
 NEWPORT BEACH, CA 92660-2050                     SUITE 310
                                                  NEWPORT BEACH, CA 92660-2050

 RTD 08/16/21 RESENT                              NEW ADDR PER USPS                                        RTD 08/16/21 RESENT
 RDI - CREDITOR                                   RDI - CREDITOR                                           RDI - CREDITOR
 RUBY'S OCEANSIDE LTD                             RUBY'S OCEANSIDE LTD                                     RUBY'S PALM SPRINGS
 GENERAL PARTNER/LIMITED                          32565 GOLDEN LANTERN ST STE B                            ASSOCIATES, LTD
 PARTNER                                          1025                                                     4100 MACARTHUR BLVD.
 4100 MACARTHUR BLVD                              DANA POINT CA 92629-3261                                 SUITE 310
 SUITE 310                                                                                                 NEWPORT BEACH, CA 92660-2050
 NEWPORT BEACH, CA 92660-2050

 NEW ADDR PER USPS                                RDI - CREDITOR                                           RDI - CREDITOR
 RDI - CREDITOR                                   RUBY'S PALM SPRINGS LTD                                  RUBY'S PASADENA LTD
 RUBY'S PALM SPRINGS                              GENERAL PARTNER/LIMITED                                  OFFICER DIRECTOR MANAGER OR
 ASSOCIATES, LTD                                  PARTNER                                                  AGENT
 32565 GOLDEN LANTERN ST STE                      4100 MACARTHUR BLVD                                      10109 WHITTWOOD LANE
 B                                                SUITE 310                                                WHITTIER, CA 90603-2314
 1025                                             NEWPORT BEACH, CA 92660-2050
 DANA POINT CA 92629-3261

 RDI - CREDITOR/POC ADDRESS                       RDI - CREDITOR                                           RDI - CREDITOR/POC ADDRESS
 RUBYS RETAIL BRANDS, LLC                         RUBY'S ROSE CITY ASSOCIATES LTD                          RUBY'S ROSE CITY ASSOCIATES,
 DOUGLAS L. SALISBURY                             OFFICER DIRECTOR MANAGER OR                              LTD
 17042 GILLETTE AVENUE                            AGENT                                                    C/O RON GILLES
 IRVINE, CA 92614-5601                            400 EMERALD BAY                                          908 EMERALD BAY
                                                  SUITE 100                                                LAGUNA BEACH CA 92651-1239
                                                  LAGUNA BEACH, CA 92651-1215




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 RDI - CREDITOR                                   RDI - CREDITOR                                           RDI - CREDITOR
 RUBY'S SOCAL DINERS LLC                          RUBY'S SOCAL DINERS LLC                                  RUBY'S SPECTRUM, LLC
 4100 MACARTHUR BLVD.                             32565 GOLDEN LANTERN ST STE B                            MANAGING MEMBER
 SUITE 310                                        1025                                                     4100 MACARTHUR BLVD.
 NEWPORT BEACH, CA 92660-2050                     DANA POINT CA 92629-3261                                 SUITE 310
                                                                                                           NEWPORT BEACH, CA 92660-2050

 NEW ADDR PER USPS                                RTD 08/16/21 UTF                                         RDI - CREDITOR
 RDI - CREDITOR                                   RDI - CREDITOR/POC ADDRESS                               RUDY SOTO
 RUBY'S SPECTRUM, LLC                             RUBY'S YORBA LINDA LTD                                   24439 CAMINO RIOJA
 32565 GOLDEN LANTERN ST STE                      DOUGLAS S CAVANAUGH/RALPH                                LAGUNA NIGUEL, CA 92677-3531
 B                                                KOSMIDES
 1025                                             4100 MACARTHUR BLVD
 DANA POINT CA 92629-3261                         SUITE 310
                                                  NEWPORT BEACH, CA 92660-2050

 RDI - CREDITOR                                   RDI - CREDITOR                                           RDI - CREDITOR
 RUTAN & TUCKER LLP                               RUTH GARCIA                                              RUTH SERVIN
 OFFICER DIRECTOR MANAGER                         2501 W SUNFLOWER #G7                                     3562 41ST
 OR AGENT                                         SANTA ANA, CA 92704-7548                                 SAN DIEGO, CA 92105-3313
 611 ANTON BLV SUITE 1400
 PO BOX 1950
 COSTA MESA, CA 92628-1950

 RTD 08/09/21 UTF                                 RDI - CREDITOR/POC ADDRESS                               RDI - CREDITOR/POC ADDRESS
 RDI - CREDITOR                                   S AND D COFFEE INC                                       SABINE ILEANA ALVARADO
 RYAN MATTHEW GWIN                                GREGORY F FISCHER                                        6050 NEDDY AVE
 6967 OREGON AVE.                                 1201 N MARKET ST STE 1001                                WOODLAND HILLS, CA 91367-1129
 LA MESA, CA 91942-1205                           WILMINGTON, DE 19801-1807

 RDI - CREDITOR                                   RDI - CREDITOR                                           RDI - CREDITOR
 SABRINA K. ELKINS                                SABRINA ROBLES                                           SACA TECHNOLOGIES INC
 3163 30TH ST.                                    24 VIA HACIENDA                                          OFFICER DIRECTOR MANAGER OR
 SAN DIEGO, CA 92104                              RANCHO SANTA MARGARITA, CA                               AGENT
                                                  92688-8524                                               5101 E LA PALMA AVENUE
                                                                                                           SUITE 2
                                                                                                           ANAHEIM, CA 92807-2056

 RDI - CREDITOR                                   RDI - CREDITOR                                           RDI - CREDITOR
 SALVADOR BAHENA                                  SAMANTHA GARCIA                                          SAMANTHA GORMAN
 445 EAST CENTER ST. APT 232                      1427 KURTZ STREET                                        2814 S. RENE DR.
 ANAHEIM, CA 92805-3287                           OCEANSIDE, CA 92054-5529                                 SANTA ANA, CA 92704-6220

 RDI - CREDITOR                                   RDI - CREDITOR                                           RDI - CREDITOR/INVESTOR/POC
 SAMANTHA HERRERA                                 SAMANTHA PROVENCHER                                      ADDRESS
 6951 DONNA AVE                                   7025 EL PASEO                                            SAMANTHA WESTERFIELD
 RESEDA, CA 91335-3907                            LONG BEACH, CA 90815-3507                                3 VIA HUESCA
                                                                                                           SAN CLEMENTE CA 92673

 RDI - CREDITOR/INVESTOR                          RDI - CREDITOR                                           RDI - CREDITOR
 SAMANTHA WESTERFIELD                             SAMIRA CLAROS CRISTALES                                  SAN DIEGUITO ANES MED
 TROY WESTERFIELD - GUARDIAN                      2281 W WESTWARD AVE                                      OFFICER DIRECTOR MANAGER OR
 3 VIA HUESCA                                     BANNING, CA 92220-3757                                   AGENT
 SAN CLEMENTE, CA 92673-6713                                                                               PO BOX 25033
                                                                                                           SANTA ANA, CA 92799-5033

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 RDI - CREDITOR                                   RDI - CREDITOR                                           RDI - CREDITOR
 SANDRA KARON                                     SANTO CARRANZA                                           SARA NOELLE KING
 17252 BLUE FOX CIRCLE                            4041 49TH ST APT 4                                       2062 CARFAX AVE.
 HUNTINGTON BEACH, CA 92647-                      SAN DIEGO, CA 92105-2063                                 LONG BEACH, CA 90815-3324
 5602

 RDI - CREDITOR                                   RDI - CREDITOR                                           RDI - CREDITOR/POC ADDRESS
 SARAH FUNK                                       SARAH TAYLOR                                             SASHA BAKER
 21732 NORTHWOOD LANE                             16381 ROSEWOOD STREET                                    1117 ENGLAND STREET, APT C
 LAKE FOREST, CA 92630-2439                       FOUNTAIN VALLEY, CA 92708-1957                           HUNTINGTON BEACH, CA 92648

 RDI - CREDITOR                                   RDI - CREDITOR                                           RTD 08/18/21 UTF
 SAUL GARCIA HERNANDEZ                            SAUL HERNANDEZ                                           RDI - CREDITOR
 735 JOANN ST. #11                                1102 S DOUGLAS                                           SAUL JR ANNETT
 COSTA MESA, CA 92627-2997                        SANTA ANA, CA 92704-3210                                 1611 HIGGINS ST
                                                                                                           OCEANSIDE, CA 92058-2741

 RDI - CREDITOR/POC ADDRESS                       RDI - CREDITOR                                           RTD 08/09/21 RESENT
 SCHLEGEL FAMILY TRUST                            SCOTT & KATIE O'SHEA                                     RDI - CREDITOR
 ROGER E RILEY                                    MICHAEL O'SHEA & KATIE A O'SHE                           SCOTT HARRISON MD INC
 200 VIA BARCELONA                                TRUST                                                    OFFICER DIRECTOR MANAGER OR
 NEWPORT BEACH, CA 92663                          574 BRAEMAR AVENUE                                       AGENT
                                                  NAPERVILLE, IL 60563-1375                                801 N TUSTIN AVE
                                                                                                           #205
                                                                                                           SANTA ANA, CA 92705-3600

 RDI - CREDITOR/POC ADDRESS                       NEW ADDR PER USPS                                        RDI - CREDITOR
 SCOTT KAVANAUGH                                  RDI - CREDITOR                                           SCOTT WILLIAMS
 WILLIAM F AND EARLENE PETTY                      SCOTT R HARRISON                                         3208 PETALUMA AVE.
 9 OLD RANCH RD                                   18102 IRVINE BLVD STE 103                                LONG BEACH, CA 90808-4249
 LAGUNA NIGUEL, CA 92677-9210                     TUSTIN CA 92780-3423

 RDI - CREDITOR                                   RDI - CREDITOR                                           RDI - CREDITOR
 SEAN WIGHT                                       SEBASTIAN MARTINEZ                                       SEBASTIAN VARGAS
 6401 WARNER AVE #514                             20701 VANOWEN STREET #3                                  3002 LINDA DR.
 HUNTINGTON BEACH, CA 92647-                      WINNETKA, CA 91306-3712                                  OCEANSIDE, CA 92056-4314
 5112

 RDI - CREDITOR                                   RDI - CREDITOR                                           RDI - CREDITOR
 SECRETARY OF STATE -                             SERGIO CHAN                                              SERGIO GONZALEZ
 CALIFORNIA                                       8133 SANTA INEZ WAY                                      23301 RIDGE ROUTE DR. SPC#146
 ALEX PADILLA                                     BUENA PARK, CA 90620-3156                                LAGUNA HILLS, CA 92653-1723
 1500 11TH STREET
 SACRAMENTO, CA 95814-5701

 RDI - CREDITOR                                   RDI - CREDITOR                                           RDI - CREDITOR
 SERGIO ORTIZ                                     SERGIO VELASCO                                           SHANNON KEITH
 14162 DEL AMO AVE.                               9761 BIXBY AVE. H                                        1108 TERMINO AVE. APT. 204
 TUSTIN, CA 92780-5113                            GARDEN GROVE, CA 92841-3751                              LONG BEACH, CA 90804-4152

 RDI - CREDITOR                                   RDI - CREDITOR                                           RDI - CREDITOR
 SHANNON REILLY JOHNSON                           SHANNON RIVERA                                           SHAQUIRRA L. CHAMBERS
 16342 HOLLYWOOD LN                               25001 KATIE AVE.                                         4065 LOUISIANA ST. APT 7
 HUNTINGTON BEACH, CA 92649-                      LAGUNA HILLS, CA 92653-4322                              SAN DIEGO, CA 92104-6023
 2635


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 SHARED INSIGHT                                   SHARON M KOUMA                                           SHARON VILLAMIL
 1501 N SEPULVEDA BLVD STE E                      KOUMA FAMILY TRUST                                       2501 W. SUNFLOWER AVE UNIT G5
 MANHATTAN BEACH, CA 90266-                       1192 ARDEN DRIVE                                         SANTA ANA, CA 92704-7548
 5132                                             ENCINITAS, CA 92024-5104

 RDI - CREDITOR                                   RDI - CREDITOR                                           RDI - CREDITOR
 SHAWN RAINWATER                                  SHAWNA CERVERA                                           SHELBY SHEETS
 RAINWATER GRAPHICS                               1734 DENSTONE PL                                         401 CALIFORNIA ST.
 2912 PETALUMA AVE                                LEMON GROVE, CA 91945-3429                               HUNTINGTON BEACH, CA 92648-
 LONG BEACH, CA 90815-1615                                                                                 4914

 RDI - CREDITOR/POC ADDRESS                       RDI - CREDITOR                                           RDI - CREDITOR/INVESTOR
 SHELDON J. NANKIN                                SHIRIN AMINIAN                                           SHIRLEY JACOBS
 700 KENDALL DR                                   21 SANTA VICTORIA AILSE                                  22876 TAMORA DRIVE
 LAGUNA BEACH, CA 92651                           IRVINE, CA 92606-0862                                    LAGUNA NIGUEL CA 92677

 RDI - CREDITOR/POC ADDRESS                       RDI - CREDITOR                                           RDI - CREDITOR
 SHOPS AT MISSION VIEJO, LLC                      SHOSHANA A. MILSTEIN                                     SIENA FEDAK
 225 W. WASHINGTON STREET                         5127 BIXEL DR.                                           517 7TH STREET #F
 INDIANAPOLIS, IN 46204-3435                      SAN DIEGO, CA 92115-1124                                 HUNTINGTON BEACH, CA 92648-
                                                                                                           4666

 RDI - CREDITOR                                   RDI - CREDITOR                                           RTD 08/09/21 UTF
 SIENNA BELL                                      SIERRA MONTENEGRO                                        RDI - CREDITOR
 200 OLIVE AVE. APT 20                            39 EASTMONT                                              SIERRA PHILLIPS
 VISTA, CA 92083-4944                             IRVINE, CA 92604-3318                                    19361 BROOKHURST ST.
                                                                                                           HUNTINGTON BEACH, CA 92646-
                                                                                                           2924

 RDI - CREDITOR                                   RDI - CREDITOR                                           RTD 08/09/21 UTF
 SIERRA RENEE HAMILTON                            SILVER & FREEDMAN INC.                                   RDI - CREDITOR
 P.O. BOX 516                                     JOHN M WEBSTER, AGENT                                    SILVER & FREEDMAN INC.
 CABAZON, CA 92230-0516                           1925 CENTURY PARK EAST                                   OFFICER, DIRECTOR, MANAGER,
                                                  SUITE 200                                                AGENT
                                                  LOS ANGELES, CA 90067-2742                               2029 CENTURY PARK EAST
                                                                                                           19TH FLOOR
                                                                                                           LOS ANGELES, CA 90067-2934

 RDI - CREDITOR                                   RDI - CREDITOR                                           RDI - CREDITOR
 SILVERIO URBE                                    SIMPSON EMILY                                            SOCAL GAS
 291 AVOCADO B2                                   1409 CHURCH ST                                           CENTRALIZED CORRESPONDENCE
 COSTA MESA, CA 92627-1611                        BARSTOW, CA 92311-5524                                   PO BOX 3150
                                                                                                           MONTEREY PARK, CA 91756-0001

 RDI - CREDITOR                                   RDI - CREDITOR                                           RDI - CREDITOR
 SOCAL GAS                                        SOCAL OFFICE TECH INC                                    SOERENSEN GARCIA ADVOGADOS
 PO BOX C                                         DBA MWB BUSINESS SERVICES                                ASSOC
 MONTEREY PARK, CA 91754-0932                     OFFICER DIRECTOR MANAGER OR                              OFFICER DIRECTOR MANAGER OR
                                                  AGENT                                                    AGENT
                                                  MBS COPY PROD FILE 50897                                 RUA DA QUITANDA
                                                  LOS ANGELES, CA 90074-6002                               187/8 ANDAR - CENTRO
                                                                                                           RIO DE JANEIRO RJ 20091-005




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 SOUTH COAST PLAZA LP                             SOUTH COAST PLAZA, LP                                    SOUTHERN CALIFORNIA EDISON
 OFFICER DIRECTOR MANAGER                         PARTNER, MEMBER, AGENT                                   PO BOX 300
 OR AGENT                                         PO BOX 54876                                             ROSEMEAD, CA 91770-0300
 3315 FAIRVIEW ROAD                               LOS ANGELES, CA 90074-4876
 COSTA MESA, CA 92626-1610

 RDI - CREDITOR                                   RDI - CREDITOR                                           RDI - CREDITOR
 SOUTHERN CALIFORNIA EDISON                       SOUTHERN GLAZERS WINE & SPIRITS                          SPECTRUM ENTERPRISE
 PO BOX 6400                                      LLC                                                      OFFICER DIRECTOR MANAGER OR
 RANCHO CUCAMONGA, CA 91729-                      OFFICER DIRECTOR MANAGER OR                              AGENT
 6400                                             AGENT                                                    2551 BULLES VIEW DRIVE
                                                  FILE 56002                                               HERNDON, VA 20171-5298
                                                  LOS ANGELES, CA 90074-6002

 RDI - CREDITOR                                   RTD 08/09/21 UTF                                         RDI - CREDITOR
 SPELLBOUND DEVELOPMENT                           RDI - CREDITOR                                           SPENDIFFERENCE LLC
 GROUP, INC.                                      SPENCER DENNIS                                           OFFICER DIRECTOR MANAGER OR
 OFFICER, DIRECTOR, MANAGER,                      3182 COUNTRY CLUB DRIVE                                  AGENT
 AGENT                                            COSTA MESA, CA 92626-2344                                2000 CLAY STREET
 PO BOX 1639                                                                                               SUITE 300
 NEWPORT BEACH, CA 92659-1639                                                                              DENVER, CO 80211-5171

 RDI - CREDITOR                                   RTD 08/09/21 UTF                                         RDI - CREDITOR/POC ADDRESS
 SPINELLO PROPERTY                                RDI - CREDITOR                                           STACEY'S REFRIGERATION AND
 MANAGEMENT, INC.                                 SPINELLO PROPERTY MANAGEMENT,                            AIR CONDITIO
 AGENT OF SERVICE, GREGORY                        INC.                                                     PO BOX 232
 R. OLESON                                        OFFICER, DIRECTOR, AGENT                                 DESERT HOT SPRINGS, CA 92240-
 74-830 HWY 111                                   68931 ADELINA ROAD                                       0232
 SUITE 200                                        CATHEDRAL CITY, CA 92234
 INDIAN WELLS, CA 92210

 RDI - CREDITOR                                   RDI - CREDITOR                                           RDI - CREDITOR
 STACY L TEAGNO                                   STACY REED                                               STAR WEST PARKWAY MALL LP
 32448 ENRIQUETA CIRCLE                           3301 FALCON AVE.                                         OFFICER DIRECTOR MANAGER OR
 TEMECULA, CA 92592-1158                          SIGNAL HILL, CA 90755-4811                               AGENT
                                                                                                           PO BOX 844767
                                                                                                           LOS ANGELES, CA 90084-4767

 RDI - CREDITOR                                   RDI - CREDITOR                                           RDI - CREDITOR
 STATE BOARD OF EQUALIZATION                      STEPHAN H JOHNSON MD INC                                 STEPHANIE GUZMAN
 ACCOUNT INFORMATION GROUP,                       OFFICER DIRECTOR MANAGER OR                              82165 DR. CARREON BLVD 13C2
 MIC: 29                                          AGENT                                                    INDIO, CA 92201-5898
 PO BOX 942879                                    1441 AVOCADO AVENUE
 SACRAMENTO, CA 94279-0029                        SUITE 206
                                                  NEWPORT BEACH, CA 92660-7703

 RDI - CREDITOR                                   RTD 08/09/21 RESENT                                      NEW ADDR PER USPS
 STEPHANIE H. MEYERS                              RDI - CREDITOR                                           RDI - CREDITOR
 3665 NEEDLES HIGHWAY APT 31E                     STEPHANIE KANNAR                                         STEPHANIE KANNAR
 LAUGHLIN, NV 89029-0216                          633 ELAINE AVE                                           3911 MESA DR APT 103
                                                  OCEANSIDE, CA 92057-3540                                 OCEANSIDE CA 92056-2664




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 RDI - CREDITOR                                   STEPHANIE N MCCLELLAN MD INC                             STEPHANIE TEMPLE
 STEPHANIE KANNER                                 OFFICER DIRECTOR MANAGER OR                              4740 WARNER AVE. #206
 220 N EL CAMINO REAL SPC 71                      AGENT                                                    HUNTINGTON BEACH, CA 92649-
 OCEANSIDE, CA 92058-1767                         1411 AVOCADO                                             5028
                                                  SUITE 205
                                                  NEWPORT BEACH, CA 92660

 RDI - CREDITOR                                   RTD 08/09/21 UTF                                         RTD 08/09/21 UTF
 STEPHANIE VERONIQUE                              RDI - CREDITOR                                           RDI - CREDITOR
 LANCASTER                                        STEPHEN C. DURINGER                                      STEPHEN JOHN MISCH
 4998 ASHMEAD DRIVE                               EDWARD L. LAIRD                                          C/O CHIHIRO FUJIKAWA
 HEMET, CA 92544-7817                             DURINGER LAW GROUP, INC.                                 1319 CORTE ALEMANO
                                                  181 S. OLD SPRINGS RD., 2ND FLOOR                        COSTA MESA, CA 92626-1664
                                                  ANAHEIM, CA 92808-1247

 RDI - CREDITOR/INVESTOR                          RDI - CREDITOR                                           RDI - CREDITOR/INVESTOR
 STEVE & SANDRA SULTANOFF                         STEVE CHU                                                STEVE MISCH
 9 GALENA                                         3902 SANTA ANITA LN                                      31442 PASEO DE LA PLAYA
 IRVINE CA 92602                                  YORBA LINDA, CA 92886-7015                               LAGUNA NIGUEL CA 92677

 RDI - CREDITOR                                   1019 - RDI - CH 11                                       RDI - CREDITOR
 STEVEN C KISER                                   STEVEN L. CRAIG                                          STORMIE SADLER
 366 SAN MIGUEL DRIVE                             4100 MACARTHUR BLVD                                      37153 WINGED FOOT DR.
 SUITE 312                                        SUITE 100                                                BEAUMONT, CA 92223-8010
 NEWPORT BEACH, CA 92660-7810                     NEWPORT BEACH, CA 92660

 RDI - CREDITOR                                   RDI - CREDITOR                                           RTD 08/09/21 UTF
 STRAUB DISTRIBUTING                              STYLES HART                                              RDI - CREDITOR
 COMPANY                                          4303 PALO VERDE AVE                                      SUGUI TEAPILA
 OFFICER DIRECTOR MANAGER                         LAKEWOOD, CA 90713-2948                                  67185 MEDANO RD
 OR AGENT                                                                                                  PALM SPRINGS, CA 92262
 4633 E LA PALMA AVENUE
 ANAHEIM, CA 92807-1909

 RDI - CREDITOR                                   RDI - CREDITOR                                           RDI - CREDITOR/INVESTOR/POC
 SUMMER MAGANN                                    SUPERIOR PRESS                                           ADDRESS
 277 STARBOARD CT.                                OFFICER DIRECTOR MANAGER OR                              SUSAN DEMILLE
 SAN JACINTO, CA 92583-6547                       AGENT                                                    20202 SW CYPRESS STREET
                                                  9440 NORWALK BLVD                                        NEWPORT BEACH CA 92660
                                                  SANTA FE SPRINGS, CA 90670-2928

 RDI - CREDITOR                                   RDI - CREDITOR                                           RDI - CREDITOR
 SYDNEY ALESSA MEINER                             SYDNEY FORD                                              SYDNEY P. CONN
 5811 FURNACE CREEK RD.                           8361 FRIESLAND DR.                                       528 LAKETREE CT.
 YORBA LINDA, CA 92886-6021                       HUNTINGTON BEACH, CA 92647-6305                          BOULDER CITY, NV 89005-1115

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 SYDNEY PESNEC                                    SYDNIE R. HARDER                                         SYNCHRONY BANK
 7388 MARINA PACIFICA DR.                         22 FLAMINGO CT.                                          C/O PRA RECEIVABLES
 NORTH                                            LAGUNA NIGUEL, CA 92677-5167                             MANAGEMENT, LLC
 LONG BEACH, CA 90803                                                                                      PO BOX 41021
                                                                                                           NORFOLK VA 23541-1021




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 RDI - CREDITOR                                   RDI - CREDITOR/POC ADDRESS                               RDI - CREDITOR
 T RANDOLPH HOWATT                                TAD BELSHE                                               TAI INTERNATIONAL PATENT &
 27 INDIAN ROCK ROAD                              25316 STAYSAIL DR.                                       LAW OFF.
 SAN ANSELMO, CA 94960-1421                       DANA POINT, CA 92629-1437                                PARTNER, OFFICER, DIRECTOR,
                                                                                                           AGENT
                                                                                                           9TH FL., NO. 112, SEC. 2,
                                                                                                           CHANG-AN E. RD.
                                                                                                           TAIPEI 104, TAIWAN, R.O.C.

 RDI - CREDITOR                                   RDI - CREDITOR                                           RDI - CREDITOR
 TALIA WATTS                                      TALLIS DAWSON                                            TAMARA SCHERBOVSKY
 459 ORANGE AVE. APT. 11                          19234 SEABROOK LANE                                      159 BRIARWOOD LN
 LONG BEACH, CA 90802-1723                        HUNTINGTON BEACH, CA 92648-5520                          ALISO VIEJO, CA 92656-2967

 RDI - CREDITOR/POC ADDRESS                       RDI - CREDITOR                                           RDI - CREDITOR
 TAMMY PALACIOS (BILLIEU )                        TANER LARISON                                            TANNER KAUFMAN
 910 DEL DIOS RD #63                              4235 RUTGERS AVE.                                        5443 COLDBROOK AVE
 ESCONDIDO, CA 92029-2249                         LONG BEACH, CA 90808-1629                                LAKEWOOD, CA 90713-1435

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 TAORMINA CONTROLS, LLC                           TAORMINA FAMILY VENTURE FUND,                            TAORMINA MANAGEMENT, LLC
 WILLIAM C. TAORMINA, MANAGER                     LLC                                                      WILLIAM C. TAORMINA, MANAGER
 128 W. SYCAMORE                                  OFFICER, DIRECTOR, MANAGER,                              128 W. SYCAMORE
 ANAHEIM, CA 92805-2603                           AGENT                                                    ANAHEIM, CA 92805-2603
                                                  128 W. SYCAMORE
                                                  ANAHEIM, CA 92805-2603

 RDI - CREDITOR                                   RTD 08/09/21 UTF                                         RDI - CREDITOR
 TARA COFFEY                                      RDI - CREDITOR                                           TAYLOR ELIZONDO
 6102 MEDFORD DRIVE                               TAWNI WALZ                                               7026 QUAKERTOWN AVE.
 HUNTINGTON BEACH, CA 92647-                      19072 E. COUNTRY HALLOW                                  WINNETKA, CA 91306-3642
 2417                                             ORANGE, CA 92869-3154

 RDI - CREDITOR                                   RDI - CREDITOR                                           RDI - CREDITOR
 TAYLOR HEINZ                                     TAYLOR NICHOLSON                                         TEGAN ROBERTS
 12595 15TH ST                                    6465 SAN ANDRES AVE.                                     10797 LA FONDA CIRCLE
 YUCAIPA, CA 92399-1737                           CYPRESS, CA 90630-5323                                   FOUNTAIN VALLEY, CA 92708-3917

 RDI - CREDITOR                                   RDI - CREDITOR                                           RDI - CREDITOR
 TEODORO APANCO                                   TERMINEX PROCESSING CENTER                               TERRY GRUBER
 5322 KENT AVE                                    OFFICER DIRECTOR MANAGER OR                              25812 SYCAMORE LANE
 RIVERSIDE, CA 92503-2429                         AGENT                                                    LAGUNA HILLS, CA 92653-5416
                                                  PO BOX 742592
                                                  CINCINNATI, OH 45274-2592

 RDI - CREDITOR                                   RDI - CREDITOR                                           RDI - CREDITOR
 TERRY N GLOVER JR.                               TESS NALEZNY                                             TESSIA GUAJARDO
 694 MICHIGAN AVE                                 4812 TANGLEWOOD AVE.                                     23342 VIA BAHIA
 BEAUMONT, CA 92223-2356                          ANAHEIM, CA 92807-1020                                   MISSION VIEJO, CA 92691-2116




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 RDI - CREDITOR                                   RTD 08/09/21 UTF                                         RTD 08/09/21 UTF
 TESSY CRANFORD                                   RDI - CREDITOR                                           RDI - CREDITOR
 4314 TEMECULA ST.                                THADDEUS W SMITH & ASSOCIATES                            THALIA GARCIA
 SAN DIEGO, CA 92107-1149                         INSURANCE SERVICES                                       3851 SHERBOURNE DR. APT. O
                                                  OFFICER DIRECTOR MANAGER OR                              OCEANSIDE, CA 92056-3346
                                                  AGENT
                                                  3151 AIRWAY AVE A2
                                                  COSTA MESA, CA 92626-4620

 RDI - CREDITOR                                   RDI - CREDITOR                                           RDI - CREDITOR
 THALIA VIVAS                                     THE BRETHREN INC                                         THE DOT PRINTER INC
 1306 LINDSEY                                     DBA FIRE SAFTEY FIRST                                    OFFICER DIRECTOR MANAGER OR
 SAN JACINTO, CA 92583-5271                       OFFICER DIRECTOR MANAGER OR                              AGENT
                                                  AGENT                                                    2424 MCGAW AVENUE
                                                  1170 E FRUIT STREET                                      IRVINE, CA 92614-5834
                                                  SANTA ANA, CA 92701-4205

 RDI - CREDITOR                                   RDI - CREDITOR                                           RDI - CREDITOR
 THE IRVINE COMPANY LLC                           THE IRVINE COMPANY LLC                                   THE IRVINE COMPANY LLC
 OFFICER DIRECTOR MANAGER                         OFFICER DIRECTOR MANAGER OR                              OFFICER DIRECTOR MANAGER OR
 OR AGENT                                         AGENT                                                    AGENT
 100 INNOVATION DRIVE                             550 NEWPORT CENTER DRIVE                                 PO BOX 840380
 IRVINE, CA 92617-3207                            NEWPORT BEACH, CA 92660-7010                             LOS ANGELES, CA 90084-0380

 RDI - CREDITOR                                   RTD 08/09/21 UTF                                         RDI - CREDITOR
 THE IRVINE COMPANY RETAIL                        RDI - CREDITOR                                           THE RUBY DOOBY FOUNDATION
 PROP.                                            THE NATIONAL COMPANIES                                   OFFICER DIRECTOR MANAGER OR
 ATTN. GENERAL COUNSEL                            OFFICER DIRECTOR MANAGER OR                              AGENT
 100 INOVATION DRIVE                              AGENT                                                    4100 MACARTHUR BLVD
 IRVINE, CA 92617-3203                            15505 CORNET AVENUE                                      SUITE 310
                                                  SANTA FE SPRINGS, CA 90670-5511                          NEWPORT BEACH, CA 92660-2050

 RDI - CREDITOR                                   RDI - CREDITOR/POC ADDRESS                               RDI - CREDITOR
 THE RUBY RESTAURANT GROUP                        THEODORE A. BROEDLOW                                     THEODORE BROEDLOW
 4100 MACARTHUR BLVD.                             28 POINT LOMA DRIVE                                      238 POINT LOMA DRIVE
 SUITE 310                                        CORONA DEL MAR, CA 92625-1026                            ALISO VIEJO, CA 92656
 NEWPORT BEACH, CA 92660-2050

 RDI - CREDITOR/INVESTOR                          RTD 08/09/21 UTF                                         RDI - CREDITOR/INVESTOR/POC
 THOMAS & CARYLE FERGUSON                         RDI - CREDITOR/INVESTOR                                  ADDRESS
 4221 DEVON CIRCLE                                THOMAS & COLLEEN PADDOCK                                 THOMAS & COLLEEN PADDOCK
 CYPRESS CA 90630                                 200 SAPPHIRE AVENUE                                      2815 MAPLE COVE DRIVE
                                                  NEWPORT BEACH CA 92662                                   BOUNTIFUL, UT 84010

 RDI - CREDITOR                                   RDI - CREDITOR                                           RDI - CREDITOR/POC ADDRESS
 THOMAS AND KRISTEN HYLTON                        THOMAS BORCHARD                                          THOMAS ERNEST ZAMPAS
 9 CANDLEBUSH                                     BORCHARD & CALLAHAN, APC                                 5613 PASEO DE PABLO
 IRVINE, CA 92603-3702                            25909 PALA, SUITE 300                                    TORRANCE, CA 90505
                                                  MISSION VIEJO, CA 92691-2778




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 RTD 08/09/21 SEE POC ADDR                        RDI - CREDITOR                                           RDI - CREDITOR
 RDI - CREDITOR                                   THOMAS FERGUSON                                          THOMAS G BLACK JR
 THOMAS ERNEST ZAMPAS                             4221 DEVON CIRCLE                                        DBA TLC COMMUNICATIONS
 2854 E SIERRA DRIVE                              CYPRESS, CA 90630-2713                                   OFFICER DIRECTOR MANAGER OR
 THOUSAND OAKS, CA 91362-3740                                                                              AGENT
                                                                                                           5532 SUGAR MAPLE WAY
                                                                                                           FONTANA, CA 92336-5913

 RTD 08/17/21 UTF                                 RDI - CREDITOR                                           RTD 08/09/21 UTF
 RDI - CREDITOR                                   TIANNA GUAJARDO                                          RDI - CREDITOR
 THOMSON & THOMSON INC                            25212 STOCKPORT ST.                                      TIERNEY PUBLISHING INC
 DBA THOMSON COMPUMARK                            LAGUNA HILLS, CA 92653-4964                              OFFICER DIRECTOR MANAGER OR
 OFFICER DIRECTOR MANAGER                                                                                  AGENT
 OR AGENT                                                                                                  1100 N TUSTIN AVENUE
 PO BOX 71892                                                                                              SUITE 101
                                                                                                           ANAHEIM, CA 92807-1730

 RDI - CREDITOR                                   RDI - CREDITOR                                           RTD 08/16/21 UTF
 TIFFANY BILLINGSLEY                              TIFFANY STEINLECHNER                                     RDI - CREDITOR
 1425 S. VIA SOLEDAD                              1610 TAMARISK RD.                                        TIFFANY TRAN
 PALM SPRINGS, CA 92264-8460                      PALM SPRINGS, CA 92262-5869                              5401 E ANAHEIM RD.
                                                                                                           LONG BEACH, CA 90815-4300

 RDI - CREDITOR                                   RTD 08/16/21 UTF                                         RDI - CREDITOR/POC ADDRESS
 TIGER NATURAL GAS INC                            RDI - CREDITOR                                           TIM VERPLANK DBA CLEAR
 OFFICER DIRECTOR MANAGER                         TIKOWANNA KATHRYN HIGH                                   EXCELLENCE
 OR AGENT                                         819 UNIVERSITY AVE.                                      WINDOW CLEANING
 1422 E 71 ST SUITE J                             SAN DIEGO, CA 92103-3204                                 16852 GREEN ST APT 104
 TULSA, OK 74136-5060                                                                                      HUNTINGTON BEACH, CA 92649-
                                                                                                           3540

 RDI - CREDITOR                                   RDI - CREDITOR/POC ADDRESS                               RDI - CREDITOR
 TIME WARNER CABLE                                TIMOTHY AND BROOK BUTLER TRUST                           TIMOTHY KELLEY MD INC
 OFFICER DIRECTOR MANAGER                         BROOK D AND TIMOTHY J BUTLER                             OFFICER DIRECTOR MANAGER OR
 OR AGENT                                         511 GARDENDALE RD                                        AGENT
 PO BOX 223085                                    ENCINITAS, CA 92024-1950                                 PO BOX 15191
 PITTSBURGH, PA 15251-2085                                                                                 NEWPORT BEACH, CA 92659-5191

 RDI - CREDITOR                                   RDI - CREDITOR                                           RDI - CREDITOR - 1019 RDI CH 11
 TONI VALENTINA TABIEROS                          TONYA CORDELL                                            TPX COMMUNICATIONS
 10905 EL DOMINO AVE.                             101 HUNTINGTON BLVD. #4                                  OFFICER DIRECTOR MANAGER OR
 FOUNTAIN VALLEY, CA 92708-                       HUNTINGTON BEACH, CA 92648-5224                          AGENT
 3907                                                                                                      PO BOX 50913
                                                                                                           SAN DIEGO, CA 92150-9013

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 TRISTAN GLOSSENGER                               RDI - CREDITOR/INVESTOR                                  TRUE HEALTH DIAGNOSTICS
 243 DOUGLAS DRIVE                                TRUDY GROTH                                              OFFICER DIRECTOR MANAGER OR
 OCEANSIDE, CA 92058-7834                         31008 ALISO CIRCLE                                       AGENT
                                                  LAGUNA BEACH CA 92651-8132                               PO BOX 205401
                                                                                                           DALLAS, TX 75320-5401




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 RDI - CREDITOR/INVESTOR                          RDI - CREDITOR                                           RTD 08/16/21 UTF
 TULLIO J. RIZZO                                  TYLER LOGUE                                              RDI - CREDITOR
 28701 POINT LOMA                                 19822 BROOKHURST APT 6D                                  TYSON A BOARDS
 LAGUNA NIGUEL CA 92677                           HUNTINGTON BEACH, CA 92646-4215                          6250 HOLABIRD ST. APT 20
                                                                                                           SAN DIEGO, CA 92120-3547

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 UCLA MEDICAL GROUP PATIENT                       RDI - CREDITOR                                           ULISES CASTELO
 PAY                                              UL LLC                                                   2069 WALLACE AVE, APT. #C
 OFFICER DIRECTOR MANAGER                         OFFICER DIRECTOR MANAGER OR                              COSTA MESA, CA 92627-2951
 OR AGENT                                         AGENT
 PO BOX 748156                                    32097 COLLECTION CENTER DRIVE
 LOS ANGELES, CA 90074-8156                       CHICAGO, IL 60693-0001

 RDI - CREDITOR                                   RDI - CREDITOR                                           RDI - CREDITOR
 UNIQUE MARIE SWEETEN                             UNITED STATES ATTORNEY'S OFFICE                          UNITED STATES DEPARTMENT OF
 BALLESTEROS                                      FEDERAL BULDING, ROOM 7516                               JUSTICE
 17100 OAK LANE #9                                300 NORTH LOS ANGELES STREET                             BEN FRANKLIN STATION
 HUNTINGTON BEACH, CA 92647-                      LOS ANGELES, CA 90012-3336                               PO BOX 683
 5856                                                                                                      WASHINGTON, DC 20044-0683

 1019 - RDI - CH 11                               RDI - CREDITOR                                           RDI - CREDITOR
 UNITED STATES TREASURY                           UPS INC                                                  URBANO CUAHUIZO
 INTERNAL REVENUE SERVICE                         OFFICER DIRECTOR MANAGER OR                              493 E. VISTA CHINO APT 9
 CENTRALIZED INSOLVENCY                           AGENT                                                    PALM SPRINGS, CA 92262-3220
 OPERATION                                        PO BOX 894820
 PO BOX 7346                                      LOS ANGELES, CA 90189-4820
 PHILADELPHIA, PA 19101-7346

 RDI - CREDITOR                                   RDI - CREDITOR                                           RDI - CREDITOR
 US AIR CONDITIONING                              US DEPARTMENT OF LABOR                                   US DEPARTMENT OF LABOR
 OFFICER DIRECTOR MANAGER                         200 CONSTITUTION AVENUE NW                               OSHA REGION 9
 OR AGENT                                         WASHINGTON, DC 20210-0002                                SAN FRANCISCO FEDERAL
 4517 BIRCHWOOD AVENUE                                                                                     BUILDING
 SEAL BEACH, CA 90740-3112                                                                                 90 7TH STREET SUITE 18100
                                                                                                           SAN FRANCISCO, CA 94103-6719

 RDI - CREDITOR                                   RDI - CREDITOR                                           RDI - CREDITOR
 US FOODS INC                                     US SECURITIES AND EXCHANGE                               VALERIE ANN CASTILLO
 REGISTERED AGENT                                 COMMIS                                                   4671 VIA LOMA LINDA
 SECRETARY OF STATE                               ATTN BANKRUPTCY COUNSEL                                  YORBA LINDA, CA 92886-3027
 TOWNSEND BLDG.                                   444 SOUTH FLOWER STREET
 SUITE 4                                          SUITE 900
 DOVER, DE 19901-1234                             LOS ANGELES, CA 90071-2934

 RDI - CREDITOR                                   RDI - CREDITOR                                           RDI - CREDITOR
 VALERIE BELTRAN                                  VALERIE SOTO DAVILA                                      VALORIE VILLEGAS
 912 GLENDORA DR.                                 2320 FLORIDA ST. #12                                     1164 W COTTONWOOD RD
 OCEANSIDE, CA 92057-2639                         HUNTINGTON BEACH, CA 92648-5932                          BANNING, CA 92220-4310

 RDI - CREDITOR                                   RDI - CREDITOR                                           RDI - CREDITOR
 VANESSA BEDOLLA                                  VAR RESOURCES INC                                        VERIZON COMMUNICATIONS
 324 MAGDALENA DR.                                OFFICER DIRECTOR MANAGER OR                              OFFICER DIRECTOR MANAGER OR
 OCEANSIDE, CA 92057-6603                         AGENT                                                    AGENT
                                                  2330 INTERSTATE 30                                       PO BOX 660108
                                                  SEAGOVILLE, TX 75159                                     DALLAS, TX 75266-0108

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 VERIZON WIRELESS                                 VERONICA CABALLERO                                       VERONICA HERNANDEZ
 OFFICER DIRECTOR MANAGER                         6881 SHANNON DRIVE                                       4444 SUNNY DUNES #4
 OR AGENT                                         HUNTINGTON BEACH, CA 92647-3167                          PALM SPRINGS, CA 92264-1467
 PO BOX 660108
 DALLAS, TX 75266-0108

 RDI - CREDITOR                                   RDI - CREDITOR                                           RDI - CREDITOR
 VIANNEY GARCIA                                   VICTOR CARBAJAL                                          VICTOR CERVANTES
 51063 29TH PLAMS HWY #14                         900 N CHERRY ST                                          1435 SHOSHONE ST. APT. A
 MORONGO VALLEY, CA 92256-                        BANNING, CA 92220-2712                                   OCEANSIDE, CA 92058-2632
 9483

 RDI - CREDITOR                                   RDI - CREDITOR                                           RDI - CREDITOR
 VICTOR LOREDO                                    VICTOR TORRES                                            VICTORIA GONZALEZ
 3142 MENLO AVE                                   421 E 16TH ST. #101                                      3200 W5TH ST #405
 SAN DIEGO, CA 92105-4432                         SANTA ANA, CA 92701-7716                                 SANTA ANA, CA 92703-1842

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 VICTORIA GUAJARDO                                RDI - CREDITOR                                           VINCENT S AND MARION L
 24901 MONTE VERDE                                VICTORIA TORHILD CHRISTIANSEN                            PALLOTTA
 LAGUNA NIGUEL, CA 92677-1558                     3041 COOLIDGE AVENUE                                     72 GROVE AVENUE
                                                  COSTA MESA, CA 92626-2872                                LEOMINSTER, MA 01453-0288

 RDI - CREDITOR                                   RTD 09/04/20 UTF                                         RTD 07/27/20 UTF (DECEASED)
 VIRGILIO ADAME                                   RDI - CREDITOR/INVESTOR                                  RDI - CREDITOR/INVESTOR
 10271 KERN AVE                                   VIRGINA L. FRANKS                                        VIRGINIA KROHA
 GARDEN GROVE, CA 92843-5007                      3244 SAN AMADEO-UNIT 3C                                  31114 FLYING CLOUD DRIVE
                                                  LAGUNA WOODS CA 92637                                    LAGUNA NIGUEL CA 92677

 RDI - CREDITOR                                   RDI - CREDITOR                                           RDI - CREDITOR
 VIRGINIA M GORDON                                VIVIANA REYNA                                            VIVIEN K BURT AND
 THE GORDON TRUST                                 411 ENCLAVE CIRCLE #311                                  MADELEINE S KLEINMAN
 606 18TH STREET                                  COSTA MESA, CA 92626-8152                                3935 HOLLYLINE AVENUE
 HUNTINGTON BEACH, CA 92648-                                                                               SHERMAN OAKS, CA 91423-4603
 3808

 RDI - CREDITOR/POC ADDRESS                       RDI - CREDITOR                                           RDI - CREDITOR/INVESTOR
 WALDEMAR I MANCILLA                              WALTER ORTEGA                                            WARD STENNETT
 SERRANO                                          7451 WARNER AVE. #E211                                   1320 SO GERTRUDA AVE.
 948 CHEYENNE ST                                  HUNTINGTON BEACH, CA 92647-5494                          REDONDO BEACH CA 90277
 COSTA MESA, CA 92626

 RDI - CREDITOR                                   RDI - CREDITOR/POC ADDRESS                               RDI - CREDITOR
 WASSERTROM COMPANY INC                           WASTE MANAGEMENT OF                                      WATER HEATER MAN INC
 OFFICER DIRECTOR MANAGER                         CALIFORNIA, INC.                                         OFFICER DIRECTOR MANAGER OR
 OR AGENT                                         BANKRUPTCY DEPARTMENT                                    AGENT
 477 S FRONT STREET                               2625 W GRANDVIEW RD STE 150                              570 W FREEDOM AVENUE
 COLUMBUS, OH 43215-5625                          PHOENIX, AZ 85023-3109                                   ORANGE, CA 92865-2530




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 RDI - CREDITOR                                   RDI - CREDITOR/INVESTOR/POC                              RTD 12/31/20 UTF
 WEST PACIFIC MEDICAL                             ADDRESS                                                  RDI - CREDITOR/INVESTOR
 LABORATORY                                       WILIAM & JEANNETTE SIMEK                                 WILLIAM & JUDY KELLY
 OFFICER DIRECTOR MANAGER                         17342 LA MESA LANE                                       30 JOYA DRIVE
 OR AGENT                                         HUNTINGTON BEACH CA 92647                                PALM DESERT CA 92260
 PO BOX 144405
 AUSTIN, TX 78714-4405

 RDI - CREDITOR                                   RDI - CREDITOR                                           RTD 08/09/21 UTF
 WILLIAM AND JEANNETTE M                          WILLIAM EKBERG                                           RDI - CREDITOR
 SIMEK                                            17941 FERNPOINT CR.                                      WILLIAM F & RITA A HARNACKER
 THE WILLIAM J AND JEANNETTE                      HUNTINGTON BEACH, CA 92647-6446                          HARNACKER REVOCABLE TRUST
 M                                                                                                         1171 VIA ARGENTINA
 SIMEK TRUST                                                                                               VISTA, CA 92081-6342
 17342 LA MESA LANE
 HUNTINGTON BEACH, CA 92647-
 6145

 RTD 01/04/20 UTF                                 RDI - CREDITOR/INVESTOR/POC                              RDI - CREDITOR/INVESTOR
 RDI - CREDITOR/INVESTOR                          ADDRESS                                                  WILLIAM G FREITAG
 WILLIAM F. AND EARLENE PETTY                     WILLIAM F. AND EARLENE PETTY                             WILLIAM G FREITAG REVOCABLE
 403 CARLISLE COURT                               SCOTT KAVANAUGH                                          TRUST
 THE VILLAGES FL 32162                            9 OLD RANCH ROAD                                         114 CLEBURNE PASS
                                                  LAGUNA NIGUEL, CA 92677                                  GEORGETOWN, TX 78633-5473

 RTD 12/29/20 UTF                                 RTD 08/09/21 UTF                                         RDI - CREDITOR/POC ADDRESS
 RDI - CREDITOR/INVESTOR                          RDI - CREDITOR                                           WILLIAM M CROSBY
 WILLIAM G. FREITAG                               WILLIAM L AND JUDY KELLY                                 ACQUIRED FROM JOSEPH SCOTT
 78571 ALLIANCE WAY                               30 JOYA DRIVE                                            CROSBY
 PALM DESERT CA 92211                             PALM DESERT, CA 92260-0327                               LAW OFFICE OF WILLIAM M
                                                                                                           CROSBY
                                                                                                           13522 NEWPORT AVENUE, SUITE
                                                                                                           201
                                                                                                           TUSTIN, CA 92780-3707

 RDI - CREDITOR/POC ADDRESS                       RDI - CREDITOR                                           RDI - CREDITOR
 WILLIAM M CROSBY                                 WILLIAM S AND MYRNA A WRIGHT                             WILLIAM SIMEK FAMILY TRUST
 LAW OFFICE OF WILLIAM M                          3900 TOPSIDE LANE                                        17342 LA MESA LN
 CROSBY                                           CORONA DEL MAR, CA 92625-1628                            HUNTINGTON BEACH, CA 92647-
 13522 NEWPORT AVENUE, SUITE                                                                               6145
 201
 TUSTIN, CA 92780-3707

 RDI - CREDITOR                                   RDI - CREDITOR                                           RDI - CREDITOR
 WSK CONSTRUCTION INC                             XENA PRINCESS JOUDI                                      XEROX FINANCIAL SERVICES
 DBA WAGNER SURE KLEEN                            4740 WARNER AVENUE #108                                  OFFICER, DIRECTOR, MANAGER,
 OFFICER DIRECTOR MANAGER                         HUNTINGTON BEACH, CA 92649-5004                          AGENT
 OR AGENT                                                                                                  PO BOX 202882
 1842 MOORPARK DRIVE                                                                                       DALLAS, TX 75320-2882
 BREA, CA 92821-6045

 RDI - CREDITOR                                   RDI - CREDITOR/POC ADDRESS                               RDI - CREDITOR
 YAHAIRA PENALOZA                                 YELP INC.                                                YOLANDA GARCIA
 2290 COLLEGE AVE. APT. B2                        C/O SZABO ASSOCIATES, INC.                               7632 AMBERLEAF CIRCLE APT. 1
 COSTA MESA, CA 92627-1946                        3355 LENOX ROAD NE, SUITE 945                            HUNTINGTON BEACH, CA 92648-
                                                  ATLANTA, GA 30326-1357                                   1858

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June 2012
4851-1218-9040, v. 1
       Case 8:18-bk-13311-SC                    Doc 1227 Filed 07/11/22 Entered 07/11/22 17:02:05                                       Desc
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 YOUNG ELECTRIC SIGN                              RDI - CREDITOR                                           YPO GOLD SOUTHERN
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 YESCO LLC DBA YESCO SIGNS                        2088 GREENBRIER DRIVE                                    OFFICER DIRECTOR MANAGER OR
 LLC                                              OCEANSIDE, CA 92054-3445                                 AGENT
 OFFICER DIRECTOR MANAGER                                                                                  PO BOX 373
 OR AGENT                                                                                                  HUNTINGTON BEACH, CA 92648-
 PO BOX 11676                                                                                              0373
 TACOMA, WA 98411-6676

 RTD 08/16/21 UTF                                 RDI - CREDITOR                                           RDI - CREDITOR
 RDI - CREDITOR                                   ZACH BARTON                                              ZOEE GALLEGO
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 4220 W 1ST ST #211                               LONG BEACH, CA 90802-5838                                HUNTINGTON BEACH, CA 92648-
 SANTA ANA, CA 92703-4043                                                                                  2430

 RDI - CREDITOR
 ZOJIRUSHI AMERICA
 CORPORATION
 OFFICER DIRECTOR MANAGER
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 19310 PACIFIC GATEWAY DRIVE
 SUITE 101
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